Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 1 of 149 PageID# 30527




                               Exhibit B
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 2 of 149 PageID# 30528

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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division




            ---------------------------------:
                                             :
            SONY MUSIC ENTERTAINMENT, et al.,:
                           Plaintiffs,       :
                                             :
                 -vs-                        :             Case No. 1:18-cv-950
                                             :
            COX COMMUNICATIONS, INC., et al.,:
                           Defendants.       :
                                             :
            ---------------------------------:




                                                 VOLUME      1




                                       TRIAL TRANSCRIPT


                                       December 2, 2019


                             Before:    Liam O'Grady, USDC Judge


                                           And a Jury




                                    Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 3 of 149 PageID# 30529
            D. Kooker - Direct
                                                                                             101

       1    BY MR. ZEBRAK: (Continuing)

       2    Q.    Mr. Cooker, why was it that you wanted the jury to hear

       3    some of that music today?

       4    A.    Well, I think it just is a good example of, you know,

       5    exactly what I was talking about, that emotion, passion, that

       6    connection.     You know, hopefully at least one of those songs

       7    brought you back or reminded you of something that was

       8    important or made you feel better.

       9                  Again, it's that emotional connection.             And,

      10    obviously, these are some of the most important recordings

      11    in -- in our company.

      12    Q.    So I would like to explore some basic music industry

      13    terms.   Could you start by explaining what is the record

      14    industry?

      15    A.    Sure.    The record industry is primarily focused on working

      16    with artists to create, market, and distribute their

      17    recordings.     And, you know, to give you an example or explain

      18    that more clearly, you know, when you think of the biggest

      19    single of the year, "Old Town Road" with Lil Nas X, or you

      20    think about the two recent number one albums we had with Celine

      21    Dion, or with country star Luke Combs, or you think of Elvis

      22    Presley, it's the artists who you're thinking about, those are

      23    the people that we work with to market, distribute, and sell in

      24    the recording -- in the recording industry.

      25    Q.    And where is it within the overall music industry that the




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 4 of 149 PageID# 30530
            D. Kooker - Direct
                                                                                             102

       1    record industry fits?

       2    A.    So again, that part is, you know, the exploitation of

       3    working with the performing artists.          There is also the music

       4    composition, which is the songwriter actually writing the song.

       5    Sometimes that is the same as the artist performing, often it

       6    is not, there's a separate songwriter that contributes to it.

       7                But beyond that, you know, there are retail partners,

       8    there are digital service providers, there are live

       9    performances in live venues, and an entire live industry, live

      10    music industry around that.

      11                In addition to, you know, thinking about studios and

      12    recording studios and studio musicians and union employees, et

      13    cetera, that make up the overall music industry.

      14    Q.    So you mentioned -- I think you said digital service

      15    provider.    But could you explain what you meant by that.

      16    A.    Yeah, sorry.    I fall into that habit of using acronyms.

      17    So a digital service provider is really services that most

      18    people think about going and either listening to music or

      19    watching a movie or a film.

      20                So, for example, Apple Music, Amazon, Spotify are

      21    examples of digital service providers.

      22    Q.    And what is a music publisher?

      23    A.    A music publisher is a company that works with the

      24    songwriter.

      25    Q.    And just to be clear, is there -- is a digital service




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 5 of 149 PageID# 30531
            D. Kooker - Direct
                                                                                             103

       1    provider, or DSP, the same thing as Cox?

       2    A.      No.   A digital service provider is a retail -- or a

       3    platform that ultimately is either selling or streaming music

       4    to consumers.

       5    Q.      So a DSP is different than an ISP?

       6    A.      DSP is different than an ISP, exactly.

       7    Q.      This is the Washington area where we're famous for our

       8    acronyms.

       9    A.      Sorry.   So is the music industry.       Sorry.

      10    Q.      And just so we have some clear terminology, what is a

      11    music download?

      12    A.      A music download is a track or an album that has been

      13    downloaded for purchase from a digital store, one of those

      14    DSPs.

      15    Q.      And what does music streaming refer to?

      16    A.      Music streaming is when a consumer is listening to music

      17    via a streaming service, like Spotify or Apple Music, where

      18    ultimately the music is -- is typically not downloaded or

      19    purchased by the consumer, but is experienced either through

      20    add supported or a subscription type of payment method.

      21    Q.      And what does the term "sound recording" refer to?

      22    A.      Sound recording is the recording of a composition by an

      23    artist or a band.     You know, in that medley I played, it ended

      24    with Adele's "Rolling in the Deep."         "Rolling in the Deep" is a

      25    sound recording.




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 6 of 149 PageID# 30532
            D. Kooker - Direct
                                                                                             104

       1    Q.    Thank you.     And you've referred to songwriters.                 Would you

       2    explain what a music composition is.

       3    A.    Sure.   The music composition is the lyrics and the

       4    composition of the song that is ultimately performed by the

       5    artist.

       6    Q.    And who generally owns music compositions?

       7    A.    Typically the publishers own music compositions.

       8    Q.    Do record companies generally own musical compositions?

       9    A.    Generally they don't.

      10    Q.    So besides the music publishers and the record companies

      11    and the digital service providers, could you explain who some

      12    of the other major participants are in the overall music

      13    industry.

      14    A.    Yeah.   I think, you know, back to some of the examples of,

      15    you know, live venues, you know, there's a live business that

      16    supports the music industry.       You know, recording studios,

      17    engineers, studio musicians.

      18    Q.    Okay.   And I promise one last term for you to define.

      19    A.    Sure.

      20    Q.    What does the term "A&R" refer to?

      21    A.    A&R is artists and repertoire.        It's the area of our

      22    company that focuses primarily on the creative side of the

      23    artist relationship.

      24    Q.    So could you expand on what you mean by A&R involves the

      25    creative side.




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 7 of 149 PageID# 30533
            D. Kooker - Direct
                                                                                             111

       1    A.    Yeah.    So royalties are the term that is used to designate

       2    the payment that is made from the record company to the artist.

       3    It's usually based on a contractual relationship between the

       4    record company and the artists.       And it's usually paid as a

       5    percentage of the revenues that are collected on behalf of that

       6    artist.

       7    Q.    Are copyrights among the core assets of record companies?

       8    A.    Copyrights ultimately are absolutely the core asset of the

       9    company.     They are the music.    They are the thing that protects

      10    the music, that allows us to enforce that protection, and

      11    ultimately it is what we are monetizing and commercially

      12    delivering in the marketplace that generates revenue for the

      13    company and for the artist.

      14    Q.    What relationship, if any, is there between protection of

      15    copyright and the royalties that artists obtain?

      16    A.    I think they go hand in hand.        If there is no protection

      17    of the copyright, then ultimately no one is -- there is no

      18    remuneration, there is no payment being made, and ultimately

      19    the artist is not able to get paid a royalty.

      20    Q.    Sure.    Let's talk a little bit about how record companies

      21    generally make money for themselves and the artists.

      22    A.    Sure.

      23    Q.    Could you explain how that has worked historically.

      24    A.    Yes.    So historically, you know, all the way back to the

      25    '50s and '60s, you know -- and the business has gone through a




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 8 of 149 PageID# 30534
            D. Kooker - Direct
                                                                                             112

       1    lot of change in how you actually generate revenue and make

       2    money.   But it was a 45s business.        It was a singles business

       3    on vinyl which eventually moved to LPs, eight-tracks, if any of

       4    us remember that, to cassettes, to CDs, to digital downloads,

       5    and now to streaming.

       6                And so, you know, there has been a lot of different

       7    ways to legally obtain music throughout the years.                 And that

       8    has changed dramatically from the way that consumers actually

       9    listen to and experience music.

      10                But all of those different components, even today,

      11    other than maybe eight-tracks and cassettes, still make up, you

      12    know, how we make money in the business, including vinyl.

      13    Q.    And you referred to downloads.        How are sound recordings

      14    available for sale as downloads in this era?

      15    A.    So they would be available in a download store, it would

      16    be a retail environment for purchase.          And they typically would

      17    be available as individual tracks or also as albums.

      18    Q.    And for what length of time has that been the case,

      19    roughly speaking?

      20    A.    Roughly, early 2000s.     I mean, the biggest, most prominent

      21    store that everyone recognizes is the Apple iTunes store,

      22    download store.

      23    Q.    I would like to explore with you now some of the costs

      24    that record companies typically incur.           Can you at a high level

      25    list the more significant categories of those costs.




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 9 of 149 PageID# 30535
            D. Kooker - Cross
                                                                                             122

       1    sharers in or around 2009 because it was not very good PR?

       2    A.      I don't know if that was the motivation.            I am not sure.

       3    Q.      You did participate -- I think you said in your direct

       4    examination that you participated, part of a team, including

       5    the general counsel, correct?

       6    A.      Yes.    On the leadership team, yes.

       7    Q.      Yes.    Was there any -- do you recall having any

       8    discussions at an executive level with regard to why a decision

       9    was made not to continue to pursue individual file sharer suits

      10    after 2009?

      11    A.      I remember that there were conversations.             And I remember

      12    that there were multiple reasons ultimately that played into

      13    that.

      14    Q.      But Sony just stopped after that time; is that correct?

      15    A.      Yes, we stopped after that time.

      16    Q.      Let me take you back to the 2013 and 2014 timeframe, if

      17    you can harken back to that.

      18                    Were digital revenues from Sony Music, including

      19    revenues from streaming services, the primary revenues that you

      20    depend on to continue in making substantial investments

      21    required to operate a recorded music company?

      22    A.      Sorry, could you ask the question again?

      23    Q.      Sure.    During the timeframe 2013 and '14, did you form a

      24    belief that digital revenues of -- are and would remain the

      25    primary revenues that Sony would depend on to continue to make




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 10 of 149 PageID#
          D. Kooker - Cross        30536
                                                                                          123

     1   substantial investments required to operate a recorded music

     2   company?

     3   A.      Digital revenues were a major component, yes.

     4   Q.      Okay.   And that included streaming services as well,

     5   correct?

     6   A.      That did, yes.

     7   Q.      And part of it is because people just stopped buying CDs

     8   around that time, right?

     9   A.      Well, no, I don't think people stopped buying CDs around

   10    that time.      I think CDs have been declining in sales since

   11    around 2000.

   12    Q.      And -- now, today the majority of the revenues for Sony

   13    Music are through streaming, streaming activities, correct?

   14    A.      In the U.S., that's correct.

   15    Q.      And did you form a belief in and around 2014 that then in

   16    the last several years you believed there was an explosion in

   17    online streaming services?

   18    A.      I honestly don't recall exactly where my head was at in

   19    2014.

   20    Q.      Okay.   Do you recall forming a view that the streaming

   21    services represent the second largest component of digital

   22    music business enabling users to access millions of songs from

   23    their personal computers or mobile devices without actually --

   24    without actually buying the music?

   25    A.      Yeah, it was very clear that we were going through a




                                              Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 11 of 149 PageID#
                                   30537
                                                                                             139

                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division




         ---------------------------------:
                                          :
         SONY MUSIC ENTERTAINMENT, et al.,:
                        Plaintiffs,       :
                                          :
              -vs-                        :              Case No. 1:18-cv-950
                                          :
         COX COMMUNICATIONS, INC., et al.,:
                        Defendants.       :
                                          :
         ---------------------------------:




                                               VOLUME      2   (A.M. Portion)




                                     TRIAL TRANSCRIPT


                                     December 3, 2019


                           Before:    Liam O'Grady, USDC Judge


                                         And a Jury




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 12 of 149 PageID#
              D. Kokakis - Direct      30538
                                                                                                     146

            1   as part of a band as well?

            2   A.      Yes, that's correct.

            3   Q.      And tell us a little bit about that experience.

            4   A.      Well, it's a challenging art.           It's a bit of magic

            5   involved in songwriting.         It's a painful, creative expression

            6   at times.       And as painful as it was sometimes, it was also some

            7   of the best memories I have had during that moment in time when

            8   I was creating work with my colleagues.

            9   Q.      So based on your own experience as a songwriter and your

09:22:24   10   work at UMPG, can you tell us a little bit about the

           11   songwriting process in general.

           12   A.      Sure.    As I said, it's a little bit of magic.                 It's kind

           13   of this magical combination of notes and rhythm and melody and

           14   lyric that comes together in a way that creates art.                         It's

           15   audible art.

           16   Q.      And how many songs does a songwriter typically write in a

           17   year?

           18   A.      Oh, it depends on the songwriter concerned.                  Some are

           19   quite prolific.      Some could write hundreds of songs a year.

09:22:58   20   Some go through a painstaking process of perhaps producing just

           21   a few noteworthy songs a year.            It depends on the writer

           22   concerned.

           23   Q.      So the songwriter writes the song.             Who typically performs

           24   the song?

           25   A.      At times the songwriter will also be the recording artist,




                                          Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 13 of 149 PageID#
              D. Kokakis - Direct      30539
                                                                                                   147

            1   but much of the time the artist is different from the

            2   songwriter.     So there are two distinct professions and two

            3   distinct creative works.       You have the song and then the sound

            4   recording of the song.

            5   Q.   Can you provide an example where the songwriter is

            6   different than the recording artist?

            7   A.   Certainly.     There is a popular song "R-e-s-p-e-c-t"

            8   performed by Aretha Franklin, which happened to be written by

            9   Otis Redding.

09:23:47   10              There are some songs in the case here, such as by

           11   Aerosmith like "Livin' on the Edge," which was written by a

           12   gentleman named Mark Hudson.

           13              Also, Aerosmith "Rag Doll" was written by a gentleman

           14   named Jim Vallance.

           15              There is also another song subject to this case,

           16   "Life is a Highway," which was performed by Rascal Flatts,

           17   which was written by a gentleman named Tom Cochrane.

           18              So there are lots of examples where -- including

           19   songs subject to this case, where the songwriter is a distinct

09:24:23   20   entity or person from who is performing the song.

           21   Q.   And "Life is a Highway," there are actually two recording

           22   artists for that song; is that right?

           23   A.   Well, multiple, actually, because it was covered several

           24   times.   It was originally written and performed by Tom Cochrane

           25   back in the maybe late '80s, early '90s, and then was covered




                                        Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 14 of 149 PageID#
              D. Kokakis - Direct      30540
                                                                                                    148

            1   multiple times by different artists, including Rascal Flatts

            2   more recently for the movie "Cars."

            3   Q.      Can you provide an example where the songwriter is also

            4   the recording artist?

            5   A.      Certainly.   We have many, as I said, writers who are also

            6   the artists.    Billy Joel tends to write his own material.                       One

            7   of the songs subject to this case is "I Go to Extremes" by

            8   Billy Joel both as the performer and the songwriter.

            9                "Lose Yourself" by Eminem is also subject to this

09:25:19   10   case.    He co-wrote that song and performed it.

           11                I could go on if you would like.

           12   Q.      All right.   Well, thank you.        Let's turn now to music

           13   publishers and their role in the creation and development of

           14   songs and songwriters.

           15                Mr. Kokakis, what does a music publisher do?

           16   A.      We help to manage the careers of the songwriters.                    We give

           17   them guidance in terms of their career paths.                  We help manage

           18   the creative works that they create by finding opportunities to

           19   exploit them, by going out and collecting money generated from

09:25:54   20   those works, and by protecting the rights of the songwriters.

           21   Q.      Can you tell us a little bit more about the creative

           22   support that music publishers provide to songwriters?

           23   A.      Certainly.   Well, I'll speak to Universal and what we've

           24   created.    We have hundreds of employees who work in the

           25   creative department who do nothing but liaise on a daily basis




                                         Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 15 of 149 PageID#
              D. Kokakis - Direct      30541
                                                                                                   149

            1   with the songwriters who we represent.              Again, giving them

            2   creative support, setting up studio sessions for them,

            3   co-writing opportunities with other writers, discussing career

            4   path, discussing opportunities to place their songs in film and

            5   TV projects and commercial advertisements, things of that

            6   nature.    Anything that a songwriter needs to help create the

            7   art that winds up being brought to the public.

            8   Q.   And where do the record companies fit into this process?

            9   A.   Well, the record companies play a critical role in the

09:26:51   10   ecosystem, but a very different role.             The record companies

           11   record the songs.   They record the music that winds up being

           12   publicly distributed.     They represent the records and the

           13   artists.    Publishers represent the songwriters and the songs.

           14   Q.   How do music publishers help songwriters make a living

           15   from their songs?

           16   A.   Well, as I mentioned, we look for opportunities to help

           17   commercially exploit the songs that are delivered to us by

           18   looking for licensing opportunities, by looking for artists to

           19   record the songs.   Licensing opportunities could take the form

09:27:28   20   of placement in a film, placement in a TV project, in a

           21   commercial, embodiment on a record, use in merchandise like

           22   lyric t-shirts, karaoke products, things like that.

           23   Q.   Does that mean that a songwriter gets paid every time a

           24   song is played in a bar?

           25   A.   Yes.    That is known as public performance.                There are very




                                        Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 16 of 149 PageID#
              D. Kokakis - Direct      30542
                                                                                                   150

            1   few exceptions for that for small, small venues.                  But when you

            2   hear a song in a shopping mall, in a concert venue, in a bar or

            3   a restaurant, that generates a royalty payment to the

            4   songwriter.

            5   Q.   I would now like to talk a little bit about more about

            6   UMPG specifically.    Tell us about UMPG and its business.

            7   A.   Certainly.    We're one of the largest music publishers in

            8   the world.    We have offices in dozens of countries throughout

            9   the world.    We have a roster of tens of thousands of

09:28:27   10   songwriters, and several millions of copyrights that we

           11   represent, millions of songs.

           12   Q.   What are the different music genres in UMPG's catalog?

           13   A.   A varied genre, based -- really we touch every genre from

           14   pop, to R&B, to rock, to hip hop, to classical music, country,

           15   everything in between, and probably sub-genres that I'm not

           16   even aware of that we represent.

           17   Q.   Can you name a few songwriters that Universal Music

           18   Publishing Group has signed that we might recognize?

           19   A.   Sure.    The more recognizable ones would be Barry Manilow,

09:29:09   20   and Billy Joel, and Bruce Springsteen, and Otis Redding,

           21   Brittany Spears, Christina Aguilera, Justin Bieber, Justin

           22   Timberlake, Steppenwolf.

           23                I mean, I could spend the entire day naming the list,

           24   if I could recall all of them.          But it's a renowned roster of

           25   clients.




                                        Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 17 of 149 PageID#
              D. Kokakis - Direct      30543
                                                                                                   153

            1                So that's why we have so many different companies

            2   under the single umbrella.

            3   Q.   Thank you.

            4                Mr. Duval, you can take that down.

            5                I'd like to talk about UMPG's licensing activities.

            6   What are the different types of licenses that Universal Music

            7   Publishing Group negotiates on behalf of its songwriters?

            8   A.   Certainly.    Well, I already mentioned licenses for film

            9   and TV projects.    Those are commonly known as synchronization

09:32:36   10   licenses.    We issue licenses for the use of lyrics, as I

           11   mentioned, in merchandise or in karaoke-based product, in sheet

           12   music.   We issue licenses for the performance of songs in, as I

           13   mentioned, bars, restaurants, concert venues, dance studios.

           14                And more commonly, we issue what's known as a

           15   mechanical license, which is for the use of a song in a sound

           16   recording.

           17   Q.   And what are the different types of sound recordings that

           18   may fall under mechanical licensing?

           19   A.   Well, there are different media types that sound

09:33:11   20   recordings can be exploited through.             You could have vinyl.

           21   You could have -- I remember vinyl back in the day.                    I remember

           22   cassettes.    I remember 8-tracks.         Those were kind of clunky.

           23                More recently, we see digital downloads.                 And we see

           24   streaming now, which is the preferred or more common method of

           25   distribution of sound recordings on services like Spotify and




                                        Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 18 of 149 PageID#
              D. Kokakis - Direct      30544
                                                                                                   154

            1   Apple and Pandora and Amazon.

            2   Q.   Why is that license called a mechanical license?

            3   A.   It's called a mechanical license because it refers to the

            4   physical or mechanical embodiment of a song on a sound

            5   recording.    And it dates back to many decades ago where you had

            6   mechanical piano rolls, right, the scrolls with the -- you

            7   know, with the grooves in them.          And those would sit inside of

            8   a piano and turn and actually play the song.                 They would click

            9   the keys.

09:34:11   10                So that's how the phrase or name "mechanical royalty"

           11   came about.

           12   Q.   Are the licensing opportunities generated from -- like --

           13   for -- by licensings for musical compositions the same as those

           14   generated for sound recordings?

           15   A.   Sometimes they're the same and oftentimes they're

           16   different because they're unique rights types that are

           17   attributable to songs that aren't attributable to sound

           18   recordings.

           19                For instance, the public performance of a song

09:34:46   20   generates a royalty for the songwriter.              Lyrics are unique to

           21   songs.   Those licenses would bear a royalty for the songwriter,

           22   but not for the recording artist.

           23                So there are some distinct areas for song royalties

           24   that don't overlap with sound recording royalties.

           25   Q.   We've been talking about royalties.               Can you give us a




                                        Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 19 of 149 PageID#
              D. Kokakis - Direct      30545
                                                                                                    155

            1   sense of a royalty rate for, say, downloading a song?

            2   A.      Certainly.   It's prescribed by law under the Copyright

            3   Act.    And it's something that fluctuates over time.                   But at the

            4   moment, the prevailing rate is 9.1 cents per song per download.

            5   Q.      And what portion of the royalties does a songwriter get

            6   from that royalty?

            7   A.      It depends on the underlying contract between the music

            8   publisher and the songwriter.          But generally the songwriter

            9   will get the bulk of that money, anywhere from 90 percent down

09:35:47   10   to perhaps 50 percent.       More commonly in the 75 percent to

           11   90 percent range goes to the songwriter.

           12   Q.      So a dime per download.       How is a songwriter supposed to

           13   make a living off of a dime per download?

           14   A.      Well, it's a numbers game.        It's a volume game.               So it's a

           15   very low margin, low cost transaction that over time adds up.

           16   It's a pennies business, even a micro pennies business these

           17   days.

           18                So one of the responsibilities that we're charged

           19   with as the music publisher in representing a songwriter is to

09:36:23   20   go out and collect all the micro pennies.                And, you know, if

           21   all goes well, that adds up to something that a songwriter can

           22   make a living from.

           23   Q.      I'd now like to -- now that we have this background, I'd

           24   now like to turn to the UMPG musical compositions that are at

           25   issue in this case.     Are you familiar with them?




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 20 of 149 PageID#
              D. Kokakis - Direct      30546
                                                                                                   159

            1   strategies for how to enforce the rights of our songwriters and

            2   to reach out to people in those instances to try to put

            3   licenses in place or find commercial solutions or, as a last

            4   resort, to litigate when we're essentially ignored or can't

            5   come to terms with the party who has infringed.

            6   Q.   And from that work, do you think that peer-to-peer piracy

            7   was a problem for Universal Music Publishing Group in the years

            8   2013 and 2014?

            9   A.   Undoubtedly.    It was a problem for the entire music

09:41:23   10   industry.    And, yes, Universal felt pain during that time, as

           11   did all of our clients.

           12   Q.   Why was it a problem?

           13   A.   It was a problem because you, essentially, had platforms

           14   that allowed for the consumption of music without there being

           15   any payment for that.     It's like I just had the lovely

           16   experience of going to WalMart on Black Friday, and if people

           17   can envision what that experience is like, imagine if

           18   everything was actually free and you could just run through the

           19   store, you know, and take whatever you want.

09:41:58   20               That's what a peer-to-peer file sharing environment

           21   is like.    It's the Wild West.       It's a complete free-for-all

           22   where people's property is just stolen at will.

           23   Q.   And are there particular challenges associated with

           24   peer-to-peer piracy versus other types of piracy?

           25   A.   Well, yes, there's some unique aspects to it in that you




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 21 of 149 PageID#
              D. Kokakis - Direct      30547
                                                                                                  160

            1   can't identify much of the time, most of the time who is

            2   actually engaging in the activity, meaning who's stealing the

            3   property.   There are millions of those individuals involved or

            4   entities involved.   So it's untenable to go after everybody.

            5   You just can't enforce your rights that way.

            6               So the anonymity of it and the just sheer volume of

            7   it makes it very difficult to manage our rights, to enforce our

            8   rights.

            9   Q.   Has Universal Music Publishing Group ever tried to

09:42:59   10   calculate its harm or losses from peer-to-peer piracy?

           11   A.   You know, I've been asked that in different contexts.

           12   And, you know, the example I give is that if the house is on

           13   fire, you don't stop to measure the temperature that the flame

           14   is burning at.   You put the fire out, and you know it's doing

           15   damage.

           16               And that's kind of what this is.             It's very difficult

           17   to quantify because, again, there's anonymity.                You don't know

           18   what the volume of activity is going on behind the scenes.                       But

           19   some things are self-evident.        And this is one of those things.

09:43:34   20   If you have property available for free or goods available for

           21   free, you know people are stealing them, you can't quite tell

           22   how many, but it's clearly doing damage.

           23               So in direct response, no, we haven't run specific

           24   analyses of this, but we don't have to to know that there's

           25   damage being done.




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 22 of 149 PageID#
              D. Kokakis - Cross       30548
                                                                                                      197

            1   decline in physical --

            2                MS. NOYOLA:     Objection, Your Honor.

            3                THE COURT:     Overruled.

            4   BY MR. BUCHANAN: (Continuing)

            5   Q.   It says:    As the decline in physical sales was offset by

            6   the growth in digital and other revenues with subscription and

            7   streaming revenues increasing by approximately 75 percent over

            8   the prior year, for the first time in 2013 yearly digital sales

            9   exceeded physical sales.

10:28:01   10                That's true, is it not?

           11   A.   I believe that's accurate, yes.

           12                THE COURT:     What year are you referring to?

           13                MR. BUCHANAN:      2013, 2013.

           14                THE COURT:     Thank you.

           15   BY MR. BUCHANAN: (Continuing)

           16   Q.   I would like you to turn to the next tab.

           17   A.   Tab 4?

           18   Q.   Yes.     And page 24.      Do you see that?

           19                And it has columns 2014, 2013.               It has revenue.           Do

10:28:35   20   you see that?

           21   A.   Yes, I see that.

           22   Q.   Okay.    And is it correct that for the year 2014 from music

           23   publishing, the revenue went from 655 million for the prior

           24   year to 673 million just for the UMPG?

           25   A.   Yes, I see that.




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 23 of 149 PageID#
              D. Kokakis - Cross       30549
                                                                                                     198

            1   Q.   And that was an increase of 4 percent?

            2   A.   Yes.

            3   Q.   Okay.     And this had to do with streaming, a lot of

            4   streaming happening, replacing the old type of digital sales or

            5   CD sales?

            6   A.   That's accurate, yes.

            7   Q.   Now, you said you weren't sure of the worth of Universal

            8   Music Group.    Could you turn to tab 5.

            9                Are you familiar with "Rolling Stone Magazine"?

10:29:25   10   A.   I am, yes.

           11   Q.   Okay.     I assume you read that.           I know you have a great

           12   interest in music.

           13   A.   No, I don't.

           14   Q.   Okay.     So it reports here, and tell me if this is wrong,

           15   maybe it refreshes your recollection, that UMG is worth 33.25

           16   billion?

           17   A.   "Rolling Stone" is not an authority on the valuation of

           18   corporations.

           19   Q.   So if you read that, it says:              On Monday Deutsche Bank

10:29:59   20   said in a report that it believes UMG is worth --

           21                THE COURT:    Stop.     Sustained.        The objection is

           22   sustained.    You can ask him whether his recollection is

           23   refreshed by the number, but you're, again, testifying into the

           24   record on an exhibit which is not in evidence and hasn't been a

           25   foundation laid.




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 24 of 149 PageID#
              A. McMullan - Direct     30550
                                                                                                   220

            1   A.     That's when I transitioned.

            2   Q.     Are there UMG companies that are plaintiffs in this case?

            3   A.     There are two.   UMG Recordings, Inc., and Capital Records,

            4   LLC.

            5   Q.     And what kind of companies are those?

            6   A.     Those are what we traditionally call record companies that

            7   make, market, sell, get to consumers records, recorded music.

            8   Q.     And what is the distinction -- or can you explain the

            9   distinction between UMG Recordings and UMPG, or Universal Music

11:20:04   10   Publishing Group?

           11   A.     So the Publishing Group owns, markets musical

           12   compositions, the songs themselves that are written by

           13   songwriters.

           14               The record company side, UMG Recordings, Inc.,

           15   Capital Records, LLC, owns, markets the recorded music, the

           16   music you hear on the radio.

           17               So Lennon and McCartney wrote the Beatles songs.

           18   Their compositions might be owned and controlled by a

           19   publishing company, which is actually not a Universal company,

11:20:38   20   it's a Sony company.     We own and control the Beatles

           21   recordings, the performances you hear that are embodied on

           22   records.

           23   Q.     Are UMG Recordings and UMPG ultimately owned by the same

           24   entity?

           25   A.     Ultimately they are owned by a parent company.




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 25 of 149 PageID#
              A. McMullan - Direct     30551
                                                                                                   221

            1   Q.   And what is that parent company?

            2   A.   The ultimate parent is called Vivendi SA.

            3   Q.   And does that parent company own -- strike that.

            4                What entities does Vivendi SA own, that you know?

            5   A.   They operate a number of businesses.               They operate a -- or

            6   they own a large advertising agency called Havas.                   A movie

            7   studio called Canal+.     I think they have some video game

            8   companies.    I'm not familiar with their full portfolio.

            9   Q.   As between UMG Recordings and UMPG, can you describe how

11:21:50   10   they are structured in terms of employees and operations?

           11   A.   They operate separate businesses.              There is a CEO of the

           12   publishing company, and it has its own legal department and

           13   artists, A&R department, or artists and repertoire department.

           14   It has its own facilities.

           15                The record company side of the business operates

           16   quite a number of different record labels that each have their

           17   own CEO and marketing people and promotion people and

           18   salespeople.    And that rolls up into a parent recorded music

           19   company.

11:22:27   20   Q.   I am sorry, I didn't mean to interrupt you.

           21                Can you describe several of the record labels that

           22   UMG owns.

           23   A.   Well, it now owns EMI, which is Capital Records.                      It owns

           24   Interscope, Decca, Verve, Republic.            I mean, it owns many, many

           25   record companies.




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 26 of 149 PageID#
              A. McMullan - Direct     30552
                                                                                                 226

            1   unauthorized copying, distribution, exploitation of the

            2   recordings that we own and what we market and what our business

            3   is founded on.

            4   Q.   And are there different types of piracy?

            5   A.   There are different types.        There have historically been

            6   different types.   There was a time where piracy consisted of

            7   vinyl bootlegs of recordings.       There was a time where cassette

            8   piracy, people copying albums on cassettes and selling them was

            9   the problem.

11:30:39   10             And then as with the development of the Internet,

           11   Internet piracy grew as a huge problem.

           12   Q.   And are you familiar with -- when you say "Internet

           13   piracy," can you describe several of the types of Internet

           14   piracy you're familiar with.

           15   A.   Well, there's Internet piracy where someone might just put

           16   up a website and be offering copies to directly download.                      And

           17   there's Internet piracy like we're talking about in this case,

           18   where there are peer-to-peer systems.

           19   Q.   And are peer-to-peer systems -- how do peer-to -- how does

11:31:14   20   peer-to-peer piracy differ from the older types of piracy that

           21   you use to deal with, say, for instance, vinyl or cassettes

           22   that you were describing?

           23   A.   Well, in those cases someone needed to make copies of our

           24   recordings and get them one-to-one out to somebody who wanted

           25   to acquire a pirated copy.




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 27 of 149 PageID#
              A. McMullan - Direct     30553
                                                                                                  227

            1   Q.   Let me interrupt you.       When you say "one-to-one," what do

            2   you mean by that?

            3   A.   Well, like a copy would be made in a factory or somewhere

            4   and it had to get into someone's hand.             With Internet piracy,

            5   peer-to-peer piracy, unlimited copies can be generated and

            6   distributed across the Internet.

            7   Q.   Can you describe, at a consumer level, how peer-to-peer

            8   piracy works?

            9   A.   So if -- well, at a user level, someone might have a copy

11:32:07   10   of the recording on their computer, on their hard drive, as

           11   well as software that allows them to connect into a

           12   peer-to-peer system.    And it allows them to distribute a copy

           13   of that recording to anyone else who has that peer-to-peer

           14   software client installed and connected to that system.

           15             So that user can upload it into a system where

           16   millions of people can have illegal access to the recording.

           17   Q.   When -- strike that.

           18             I think you said earlier that the business of UMG is

           19   to sell recordings; is that right?

11:32:52   20   A.   Yeah, to sell, distribute, license, market recordings.

           21   Q.   When UMG sells recordings through a service like iTunes or

           22   Amazon, what rights does UMG give the consumer to distribute

           23   the recordings on a peer-to-peer service?

           24   A.   The consumer gets no rights to do that.

           25   Q.   Why not?




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 28 of 149 PageID#
                                   30554
                                                                                             399

                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division




         ---------------------------------:
                                          :
         SONY MUSIC ENTERTAINMENT, et al.,:
                        Plaintiffs,       :
                                          :
              -vs-                        :              Case No. 1:18-cv-950
                                          :
         COX COMMUNICATIONS, INC., et al.,:
                        Defendants.       :
                                          :
         ---------------------------------:




                                               VOLUME      3   (A.M. Portion)




                                     TRIAL TRANSCRIPT


                                     December 4, 2019


                           Before:    Liam O'Grady, USDC Judge


                                         And a Jury




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 29 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30555
                                                                                           420

     1   Was that correct?

     2   A.    That is correct.

     3   Q.    Which specific peer-to-peer networks was MarkMonitor

     4   trying to detect the sharing of music files on?

     5   A.    There are four particular networks that MarkMonitor was

     6   monitoring.    Those are BitTorrent, Ares, eDonkey, and

     7   Gnutella, G-n-u-t-e-l-l-a.

     8   Q.    Thank you.

     9               And in the course of your work in this matter, did

   10    you have the opportunity to review the MarkMonitor system that

   11    was used to detect the sharing of these music files and report

   12    that to Cox?

   13    A.    Yes, I did.

   14    Q.    And at a high level, what did your review consist of?

   15    A.    I reviewed the source code for those systems, that is to

   16    say, the human readable form of their computer programs.                      I

   17    also had the opportunity to interview MarkMonitor engineers,

   18    and I was provided some documents that gave me some background

   19    about the systems in anticipation of those reviews.

   20                I also reviewed evidence that is produced or

   21    collected by those systems, that is to say, the

   22    contemporaneous records that those systems generate as they go

   23    about their business.

   24    Q.    And is that a complete recitation of everything you've

   25    looked at, or is that just a summary?




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 30 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30556
                                                                                         421

     1   A.    That's just a summary.      There was a lot of material.                 You

     2   know, I've also seen deposition transcripts from some of --

     3   and declarations from some of the MarkMonitor personnel and

     4   other personnel who were involved in software used in these

     5   systems.

     6   Q.    And you mentioned, I believe you said you spoke with

     7   MarkMonitor engineering employees.         Was that correct?

     8   A.    Yes, with some of their engineers.

     9   Q.    Did you speak with anyone else at MarkMonitor?

   10    A.    There were two specific individuals, Sam Bahun and a

   11    gentleman whose last name I'm sure I will mangle with a

   12    Russian last name.

   13    Q.    That's okay.    And, I'm sorry, I know you mentioned source

   14    code and you gave a bit of a short description of what that

   15    is, but could you please give the jury a little more of an

   16    understanding of what source code is?

   17    A.    Sure.   When programmers write a program, they do so in a

   18    computer language that's designed specifically to facilitate

   19    giving that instruction to the computer, and it's an

   20    artificial language, but it has a syntax and verbs and nouns

   21    you create and data structures, and you write out the

   22    instructions that the computer is to perform.               Those then get

   23    translated into the form that the computer actually uses.

   24    Q.    And are you familiar with the name Audible Magic?

   25    A.    I am.




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 31 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30557
                                                                                         423

     1   Q.    And did you come to any conclusions about the Audible

     2   Magic system?     Just a yes or no question.

     3   A.    Yes, yes.

     4   Q.    And are you prepared to discuss those today?

     5   A.    I am.

     6   Q.    Thank you.

     7                 And did you come to conclusions with respect to the

     8   overall MarkMonitor system?

     9   A.    Yes, I did.

   10    Q.    And are you prepared to discuss those today?

   11    A.    Yes, I am.

   12    Q.    At a high level, what was your conclusions about the

   13    MarkMonitor system, including the Audible Magic system used as

   14    part of it?

   15    A.    Based on the evidence I've reviewed and examined, it's my

   16    opinion that that system both accurately detects acts of

   17    copying and distribution on the internet on these peer-to-peer

   18    systems, and it also provides and produces accurate notices

   19    that can be sent to an ISP like Cox to notify them of that

   20    activity.

   21    Q.    Thank you.

   22                  Ms. Frederiksen-Cross, were you in the courtroom on

   23    Monday for the parties' opening statements?

   24    A.    I was, Counsel.

   25    Q.    And did you hear Cox's counsel argue that, in very stark




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 32 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30558
                                                                                         436

     1   Q.    And is there a common technique upon which these

     2   peer-to-peer file sharing systems each rely?

     3   A.    Well, they have several common characteristics.

     4   Obviously, they're all designed to operate on the internet, so

     5   they all rely on internet connections to be able to carry out

     6   the distribution.     They also all rely very heavily on a

     7   technique called hashing for file identification and for

     8   authentication of content.

     9   Q.    Could you elaborate on what hashing is?

   10    A.    Yeah.    I think if we go to the next slide, I'd like to

   11    introduce an icon here that I'll be using throughout too.

   12    This little fingerprint icon is going to be used when I talk

   13    about hashing, just to help to remind you about that, but

   14    hashing is a technique -- or a hash is a technique that was

   15    developed by the U.S. government.         It's based on a specific

   16    calculation of the file's contents, and it uniquely identifies

   17    what a file's contents are.

   18                  So if you have a hash that you have gotten from one

   19    file and you see that hash again, you know that the file --

   20    the second file with that same hash has got the same contents.

   21    Q.    And if you could turn your attention back to the image on

   22    this, on this slide, it looks like there's a fingerprint with

   23    a little icon in the lower right.         What is that depicting?

   24    A.    This is the hash that represents a particular file.                     So I

   25    have combined the fingerprint, because sometimes these are




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 33 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30559
                                                                                         451

     1   0 percent, and others might have some other number of pieces.

     2   Q.      Okay.    So in this example, does the empty -- the user

     3   connected through Cox, is the idea that that user doesn't have

     4   anything at that point?

     5   A.      That's right.

     6   Q.      Okay.    Okay.   And then so what happens when the user has

     7   the software on their computer and opens up a torrent file?

     8   A.      The computer -- the user's computer will go out and do

     9   what's called a handshake with each of these peers on this

   10    forum so that, you know, do you have this file?

   11                    Yeah, I have this file.

   12                    And then they will begin exchanging pieces of the

   13    file.

   14                    So if you could click here and watch the -- watch

   15    what happens in the box on the computer.            You see that as it

   16    collects those pieces, it very quickly is able to collect and

   17    assemble all of the pieces, and at the same time, the peers on

   18    the other side are also exchanging pieces with each other so

   19    that they can all build complete copies of that file as well.

   20    Q.      And then what happens?

   21    A.      Well, once the, the, all of the pieces are collected, the

   22    torrent file allows them to be reassembled in the proper

   23    sequence so that the music can be played by the user.

   24    Q.      And does the user have to do anything to put those pieces

   25    together?




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 34 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30560
                                                                                         452

     1   A.    No, no.    That all happens automatically, just like the

     2   distribution.     You know, as soon as a user computer gets a

     3   piece, it can be sharing that piece with others, and as soon

     4   as it gets all the pieces, a little icon pops up that that

     5   song is fully assembled, and you can play it now.

     6   Q.    And I see a reference on the slide to a peer swarm.                     What

     7   does that refer to?

     8   A.    Well, this -- there's only so much room on a slide.                     You

     9   know, I showed four peers here.        A typical swarm is larger

   10    than that, and the actual number of computers that might be

   11    trading in a particular piece of music at a particular time

   12    can be in the tens of thousands.

   13    Q.    I see.    And you -- this slide depicts -- now it depicts

   14    more computers.

   15    A.    A few more joined the swarm.

   16    Q.    And do you have an understanding about the number of

   17    users that are on the BitTorrent network?

   18    A.    The most recent reputable study I found was by IEEE, and

   19    it's a few years old.      It indicates that at any one point in

   20    time, there'll be between maybe 15 and 27 million peers

   21    exchanging content on the internet, and it's -- that's at any

   22    one point in time.

   23    Q.    Is there an official place one can go to see exact

   24    measurements of how many users there are on the BitTorrent

   25    network?




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 35 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30561
                                                                                         453

     1   A.    No, there is not.

     2   Q.    And why is that?

     3   A.    Well, the communication for any of these computers -- any

     4   of the peers is between the peers, and some of these

     5   peer-to-peer systems use a tracker, so if you were to put a

     6   test tracker up with the right monitoring stuff, you could see

     7   the transactions maybe that were going to that tracker, but

     8   you still couldn't see everything else that was going on in

     9   the network.

   10    Q.    So, so there's nowhere you can go to see the number of

   11    users on the network overall; is that correct?

   12    A.    That's correct.     By design, these systems are extremely

   13    robust and these machines talk directly to each other without

   14    central control.

   15    Q.    What about if I went to the Cox user that downloaded and

   16    is then distributing files to others?           Could I uncover the

   17    number of times that Cox user distributed files from a review?

   18    A.    Not in any practical way, no.

   19    Q.    What do you mean by that?

   20    A.    Well, if you just went to a user's computer and inspected

   21    it forensically, you might have some evidence of their

   22    activity, but you would not have evidence of all of their

   23    activity.

   24    Q.    Let me ask you --

   25    A.    And you would, you would have to actually do a forensic




                                             Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 36 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30562
                                                                                         454

     1   examination of that machine to get any information.

     2   Q.    Let me ask it to you this way:         Are logs kept with --

     3   from the software otherwise of the number of times that user

     4   distributes a file?

     5   A.    No.

     6   Q.    Okay.    Can you explain a little bit about the other three

     7   peer-to-peer networks that were identified in MarkMonitor's

     8   infringement notices to Cox?

     9   A.    Sure.    Can we go on to the next slide?

   10    Q.    Okay.    And so these are the other three?             Is that the

   11    Ares logo?

   12    A.    Yes, Ares, Gnutella, and eDonkey.

   13    Q.    Okay.    And I see again the, the file hash value image

   14    we're using.    Why is that there?

   15    A.    Again, all of these systems rely on hash to authenticate

   16    and identify files.      That's a really important technology.

   17    That's one of the foundation technologies of these systems.

   18    Q.    And there's a bunch of icons under file types.                    What is

   19    that meant to convey?

   20    A.    Again, these networks can be used to distribute any kind

   21    of file.    Anything that's in an electronic form can be

   22    transmitted on BitTorrent, so electronic books, movies, music,

   23    if I want to send a video of my dog chasing her tail, any of

   24    that can be distributed on the -- using BitTorrent across the

   25    internet to others.




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 37 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30563
                                                                                         455

     1   Q.    Sure.    And why is there the internet cloud on this, this

     2   slide?

     3   A.    They all rely on the internet for connection to each

     4   other, for the peers to be able to connect to each other and

     5   to be able to search for music, to download music, and to

     6   distribute copies of music.

     7   Q.    What, what happens if, if the peer that's downloading and

     8   distributing the music file is disconnected from the internet?

     9   Can they still engage in that, that activity at that moment?

   10    A.    No.   When a peer is disconnected from the internet, it

   11    can neither send nor receive files from any other computer on

   12    the -- across the internet.

   13    Q.    And did you when you were listening to Cox's counsel's

   14    opening statement see a box saying Cox has no control over the

   15    infringement?

   16    A.    I remember seeing that, yes.

   17    Q.    And, and what's your reaction to that?

   18    A.    I disagree, and I disagree for two reasons.                One is that

   19    Cox is the only party who can take an internet -- an IP

   20    address and determine what customer was using that internet

   21    address at that point in time, so they're the only ones who

   22    can actually forward that notice to an actual customer who

   23    might be able to affect the behavior.

   24                  MR. BRODY:   Your Honor, I have an objection.

   25                  THE COURT:   What's your objection?




                                             Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 38 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30564
                                                                                         460

     1   Q.    So, Ms. Frederiksen-Cross, could these networks function

     2   without hash values being reliable?

     3   A.    No.

     4   Q.    And before we had that sidebar, what, what happens with

     5   respect to the user that's downloading or distributing if

     6   their internet access is taken away?

     7   A.    Then they can't download and distribute.

     8   Q.    Let's, let's shift gears for a moment and -- or actually

     9   not for a moment.     Let's shift gears and talk about your

   10    review of the MarkMonitor system, okay?

   11    A.    Okay.

   12    Q.    So you said MarkMonitor's role was to detect infringement

   13    of -- and report it to Cox, correct?

   14    A.    That's correct.     Cox and other subscribers, but -- or

   15    other ISPs, but in this case, Cox is the focus.

   16    Q.    Okay.   And at a high level, would you describe what your

   17    review of the MarkMonitor system consisted of?

   18    A.    Sure.   I reviewed the MarkMonitor source code.                   I

   19    reviewed evidence produced by the MarkMonitor system.                       I

   20    reviewed sound recordings that corresponded to the hashes of

   21    infringing content.      I reviewed samples of the notices that

   22    MarkMonitor sent out and records about how many notices it had

   23    sent out, and I also reviewed records that provided -- that

   24    were drawn from MarkMonitor's records that provided

   25    information about both the songs and the Audible Magic




                                             Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 39 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30565
                                                                                         461

     1   verification associated with those songs, so song files and

     2   Audible Magic verifications.

     3   Q.    And you -- did you speak with anybody at MarkMonitor?

     4   A.    I did have the opportunity, as I mentioned, to discuss

     5   the operation of the MarkMonitor system with two MarkMonitor

     6   employees, and I also had the opportunity to read their

     7   depositions and/or declarations and some of the other

     8   information that was made available to me about the system.

     9   Q.    Okay.   Let's jump in in more detail to that MarkMonitor

   10    system.    What, what are the components of that system?

   11    A.    If we could go to the next slide, I have the three

   12    principal components listed.

   13    Q.    Okay.   What's the first component?

   14    A.    The verification module.

   15    Q.    And what is that?

   16    A.    The verification module is used to identify -- or to

   17    create a database of known infringing works, and so there's

   18    really two parts to that.       One is downloading works, and then

   19    the other is confirming their content, so you know that a

   20    particular hash is associated with a file that is known to

   21    contain some of plaintiffs' -- you know, either one of

   22    plaintiffs' files or in some cases multiples of plaintiff's

   23    files.

   24    Q.    Sure.   So you mentioned downloading the file.                Where is

   25    it downloaded from?




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 40 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30566
                                                                                         467

     1   it was able to find a match, what's the artist and title and

     2   album that that unknown fingerprint matched to.

     3   Q.      Okay.    And then -- and this -- if you go back to the

     4   prior slide, once Audible Magic returns a match, is that then

     5   what gets populated in MarkMonitor's database of known

     6   infringing files?

     7   A.      Right.    MarkMonitor updates its database to reflect that

     8   for the information that it collected when it downloaded that

     9   file to reflect that now it's been matched --

   10    Q.      Okay.

   11    A.      -- and here's who it is.

   12    Q.      And that's the verification process?

   13    A.      That's the verification process on the MarkMonitor side,

   14    yes.

   15    Q.      Excuse me, the verification module, right?

   16    A.      Yes.

   17    Q.      Okay.    And could you explain what the collection module

   18    is, generally speaking?

   19    A.      Yeah.    If we can go forward back to the slide we left

   20    off?

   21                    The collection module is the part that actually goes

   22    out to peers on these peer-to-peer networks and identifies

   23    whether or not those peers are copying and distributing the

   24    file.

   25    Q.      Okay.    And I see two hands have -- doing a handshake in




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 41 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30567
                                                                                         468

     1   the middle there.     What is that depicting?

     2   A.    Well, for BitTorrent, that's actually what it's called, a

     3   handshake, but it's -- for instance, if I'm on a machine -- on

     4   a computer and I'm interacting with a swarm of peers, I make a

     5   handshake with each computer in that swarm where I say this is

     6   what I'm looking for, and they can respond back whether they

     7   have it and how much they have and which pieces they have, and

     8   so that's, that's what that handshake represents.

     9   Q.    So --

   10    A.    It's the beginning of the download process really, but no

   11    content has actually been -- no actual music content has been

   12    transferred yet.

   13    Q.    So what's the significance of a handshake being between

   14    the MarkMonitor computer and the Cox user computer here in

   15    this slide?

   16    A.    Well, again, the MarkMonitor collection agent behaves

   17    exactly like any other peer except that it's creating these

   18    evidentiary records with respect to reaching out to peers,

   19    making a handshake with the peers, getting information about

   20    what the peers have.      So the, the MarkMonitor collection agent

   21    is shaking hands with a Cox peer in this, in this slide.

   22    Q.    And in this slide, could you just -- so it says -- walk

   23    us through what's happening in the left bubble off of

   24    MarkMonitor, please.

   25    A.    Okay.   So once the MarkMonitor system connects to that




                                             Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 42 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30568
                                                                                         469

     1   specific peer, that's essentially the commencement of a

     2   download process, and so certain information is exchanged back

     3   and forth between the MarkMonitor system and a peer at that

     4   time, and the purpose of this exchange of information is to

     5   verify that the peer is online, actively running a BitTorrent

     6   client or one of the other clients that we've discussed,

     7   actively responding to requests for a particular hash value

     8   that has been verified to have known content that is some of

     9   plaintiffs' copyrighted works.

   10                And then, you know, because this is, is using the

   11    hash which is what the BitTorrent system itself uses, at that

   12    point, instead of downloading content, it breaks off the

   13    connection because there's no need to -- the peer has already

   14    said, yes, I have the hash, I have these pieces of the hash.

   15    So at that point, the system breaks the connection and creates

   16    an evidentiary record that's -- that records that exchange of

   17    communication.

   18    Q.    What -- it says:     Hash match (no need to re-download).

   19                Why is that on your slide?

   20    A.    Just to remind me to point out, A, that it doesn't

   21    actually download the file, it doesn't create another copy of

   22    the file, but it has used that hash, that is, the fingerprint

   23    of the file, just as any BitTorrent client would, to say this

   24    is the file.

   25                Yes, I've -- and the peer is responding, yes, I have




                                             Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 43 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30569
                                                                                         470

     1   that file or I have pieces of that file.

     2   Q.      And when you say re-download it, is that because in the

     3   -- one step earlier in the verification module, MarkMonitor

     4   already downloaded a file that has that hash?

     5   A.      That's correct, yes.    It's a known hash here, so there's

     6   no need to download it.

     7                THE COURT:    Can we stop here for our morning break?

     8   Does that work?

     9                MR. ZEBRAK:    Of course, Your Honor.

   10                 THE COURT:    All right.

   11                 MR. ZEBRAK:    We don't have that much more.

   12                 THE COURT:    Okay.   Then let's take 15 minutes.

   13    We'll come back and continue the testimony.               Thank you.

   14    You're excused.

   15                 NOTE:   At this point, the jury leaves the courtroom;

   16    whereupon, the case continues as follows:

   17    JURY OUT

   18                 THE COURT:    All right.   Anything before we break?

   19                 MR. ZEBRAK:    No, Your Honor.

   20                 THE COURT:    Okay.   All right.      Let's take 15 minutes

   21    then.    We're in recess.

   22                 NOTE:   At this point, a recess is taken; at the

   23    conclusion of which the case continues in the absence of the

   24    jury as follows:

   25    JURY OUT




                                             Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 44 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30570
                                                                                         477

     1   and notified Cox, how that worked with regard to the actual

     2   e-mail?

     3   A.    Sure.    The MarkMonitor system reads the data.               It

     4   prepares the e-mail.      That e-mail then gets sent to the ISP,

     5   in this case Cox.     It does that by looking up the IP address

     6   and saying, oh, this is the ISP that administers that

     7   particular IP address.

     8                 And the e-mail addresses that I show here on the

     9   left, antipiracy2@riaa.com, is where -- is the sender identity

   10    in that e-mail, and abuse@cox.net is the recipient, and that

   11    is an e-mail address that Cox publishes to the world.                    It's

   12    that if you have a complaint about, for instance, copyright,

   13    this is who you're supposed to e-mail to.

   14    Q.    Sure.    And could you explain to the jury what you have on

   15    the right side of this slide?

   16    A.    Yeah.    I think I alluded a moment ago that there are some

   17    other tests that are made before a notice is sent out in order

   18    to ensure the currency of the notice and to send the most

   19    relevant notices.

   20                  So the file has been verified as infringing before

   21    the detection process, the evidence collection process ever

   22    can be used to send a notice.       So if a file hasn't been

   23    confirmed to contain infringing content, that, that evidence

   24    package is not eligible to send a notice.

   25                  Then the, the system also tests -- remember I said




                                             Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 45 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30571
                                                                                         478

     1   that the size information gets used later.              The system looks

     2   at the size of the file and the size that's passed back from

     3   the peer, and if the file isn't at least 90 percent complete,

     4   if the peer is not advertising that it has at least 90 percent

     5   of the file to share, then no notice is sent.

     6               Also, just to make sure that the information is

     7   current enough that Cox and ultimately hopefully the recipient

     8   will take action upon it, it only produces notices if the

     9   actual detection occurred within the last 48 hours of when the

   10    e-mail preparing notice ran.       So it doesn't send notices on

   11    things that are months old.       It has to be within the last 48

   12    hours.

   13                And then finally, if the IP address that was

   14    captured during the interaction with the peer can't be looked

   15    up for some reason to figure out who the ISP is, then

   16    obviously no notice would be sent because you don't know who

   17    to send it to.     So Cox only gets the notices that are related

   18    to Cox customers, and other ISPs would get the notices related

   19    to their customers.

   20    Q.    And is this slide a complete depiction of every nuance of

   21    the notification process?

   22    A.    No.   There are other, other checks and requirements that

   23    the system goes through as well in order to, to ensure

   24    accuracy and the appropriateness of the, the message that's

   25    being sent, but I think these are probably the most important




                                             Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 46 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30572
                                                                                         479

     1   ones.

     2   Q.      And where does the information come from that MarkMonitor

     3   includes in the infringement notice that goes to Cox reporting

     4   a Cox subscriber for infringement?

     5   A.      The vast majority of it comes originally from the peer

     6   and then from the evidence files where that was stored after

     7   the interaction with the peer.

     8   Q.      And could you explain to the jury in a little more detail

     9   what key information is included in the infringement notice

   10    from your perspective?

   11    A.      Yeah.    The -- I mean, a lot of the really important

   12    things for the ISP to be able to process this notice or for

   13    the consumer who receives it, assuming it's forwarded, to be

   14    able to understand it and how it relates to their computer

   15    system is you have to have -- the notice identifies the ISP

   16    based on the IP and port address, and that's also reflected,

   17    the IP and the port address are also contained in the notice.

   18    Who the ISP is, of course, is a part of the notice because

   19    it's who the e-mail is sent to.

   20                    The infringing file by name and by the file hash

   21    that was detected, so if it's a torrent hash or the other --

   22    one of the things I didn't mention about the other

   23    peer-to-peers is at this point in time that's relevant for the

   24    litigation, they were exchanging whole files, so it would be

   25    the hash associated with that file.




                                             Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 47 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30573
                                                                                          480

     1               A sample track infringe -- so -- and by sample

     2   track, I mean if the torrent was an entire album that maybe

     3   had ten tracks on it, it wouldn't list all ten of them.                     It

     4   would just list a sample, you know, this is one of the tracks

     5   from that torrent to help the recipient of that notice

     6   understand what music was causing the problem, and the date

     7   and time of detection both so that the recipient in the notice

     8   can understand it, but also because Cox needs the date and

     9   time to be able to figure out who the consumer is, because

   10    MarkMonitor doesn't have records about who Cox's customers

   11    are.   That's the part that Cox has to be able to supply in

   12    order to forward the notice.

   13    Q.     And did I hear you correctly earlier that you reviewed

   14    some of the actual notices that MarkMonitor sent to Cox?

   15    A.     Yes, I did.

   16    Q.     And did you also say that you looked at a larger set of

   17    data about sort of the whole complete set of notices that

   18    MarkMonitor sent to Cox?

   19    A.     That's correct.    There were approximately a quarter

   20    million notices in the, in the set.

   21    Q.     And do you have any understanding about whether

   22    MarkMonitor is able to detect the entirety of the unauthorized

   23    reproduction and distribution of, you know, the list of works

   24    that the RIAA asked it to find on peer-to-peer networks?

   25    A.     That's not technically feasible to be able to capture




                                             Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 48 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30574
                                                                                          484

     1   down.

     2                MR. ZEBRAK:    Sure.    Let me --

     3                THE COURT:    Thank you.    Go ahead.

     4   BY MR. ZEBRAK:

     5   Q.      Well, let me rephrase the question as Your Honor

     6   suggested.

     7                When MarkMonitor identifies a peer, a Cox subscriber

     8   on one of these file sharing networks with a file on their

     9   computer, is MarkMonitor able to identify whether that's a

   10    copy of a file that the peer obtained lawfully?

   11                 MR. BRODY:    Objection, Your Honor.

   12                 MR. ZEBRAK:    I could say it differently, Your Honor.

   13                 THE COURT:    Yeah.    Sustained.

   14                 MR. ZEBRAK:    Sure.

   15    BY MR. ZEBRAK:

   16    Q.      When MarkMonitor identifies a peer, a Cox subscriber on a

   17    network with a file, can it tell if the peer obtained it from

   18    another peer on the network as opposed to a legitimate source

   19    like iTunes or Amazon or something like that?

   20    A.      Well, in the evidence I examined, it was often the case

   21    that the -- I mean, in approximately, I think, 15 percent of

   22    the records, the peer was still collecting the evidence.                       So

   23    they only had part of the file, you know, 90 percent but not

   24    100 percent.     So that certainly tells me that in those

   25    instances, that peer was not getting it off of Amazon.




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 49 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30575
                                                                                         485

     1               And with respect to the, you know, the implication

     2   that all of these peers might have gotten something legally

     3   and then gone out there and created torrents for it

     4   presumably -- because if they got it legally, they wouldn't

     5   have a torrent -- it's kind of like saying you walk into a bar

     6   and there's a guy there with a beer in his hand.                 Where did he

     7   get it?    Well, he probably bought it in the bar.

     8               Is it possible that one of those guys or two of

     9   those guys were the ones who first created a torrent?                    As a

   10    hypothetical, that could be possible, but it's improbable.

   11                MR. BRODY:    Your Honor, I object.           That's

   12    speculation.

   13                THE COURT:    Hold on, hold on.        No, overruled.           I'm

   14    going to allow her to use the example.           Go ahead.

   15                THE WITNESS:    I'm just saying it would be extremely

   16    improbable to think that that could happen on such a massive

   17    scale, that somehow all of these people bought something and

   18    then created torrents for it so they could give it away to

   19    total strangers en masse.       That's just a nonsensical

   20    interpretation of the evidence.

   21    BY MR. ZEBRAK:

   22    Q.    And even -- let's take -- call that a nonsensical

   23    interpretation of the evidence, that somebody would -- well,

   24    let me not --

   25    A.    And I didn't mean any disrespect by that, but it just --




                                             Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 50 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30576
                                                                                         487

     1   opinion, via the other three products.

     2                 I just don't think that, that there is any lack of

     3   proof that the Cox clients were participating in these file

     4   sharing networks and were providing content that based on its

     5   hash identification is plaintiffs' content.

     6   Q.    Sure.    And for those Cox subscribers that were reported

     7   in these notices that hadn't yet obtained 100 percent of the

     8   file, I think you said there were about 15 percent of them

     9   that had somewhere between 90 to 100 percent of the file; is

   10    that correct?

   11    A.    Yes.

   12    Q.    What were -- what's your understanding, if any, of what

   13    those peers were engaged in at that time of detection?

   14    A.    Well, I'm sure that they were probably distributing as

   15    well as copying, but for at least some of them, when I went

   16    through the evidence records, I could see that over time, the

   17    amount of the file that they had moved from less than 100

   18    percent when it was detected on one detection to later moving

   19    to 100 percent of the file.       So I know for a fact that they

   20    were downloading copies.

   21    Q.    Sure.

   22    A.    And because of the tit-for-tat way that BitTorrent works,

   23    it's almost impossible to conceive that they were not also

   24    uploading those copies to others.

   25    Q.    What do you mean by the tit-for-tat way of BitTorrent?




                                             Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 51 of 149 PageID#
          B. Frederiksen-Cross - Direct
                                      30577
                                                                                         488

     1   A.    BitTorrent and the other three protocols that we

     2   discussed earlier are all designed to prioritize exchanges

     3   with peers that are, are downloading to you.               So if I have ten

     4   peers asking me for content, I'm going to give content -- I'm

     5   going to download from and give content to those four peers or

     6   three peers that are giving me the best content exchange

     7   possible.     So I'm uploading as well as downloading.

     8                 And if you're not also uploading, the tit-for-tat

     9   system kind of puts you at the back of the line, and although

   10    it's still possible to get content if you're not uploading,

   11    it's not the way these systems are designed to work, it's not

   12    the way the protocols are designed to work.               All of them have

   13    built into them this notion of exchange, that it's two peers

   14    exchanging content.

   15    Q.    Thank you.    I'd like to turn your attention now to the

   16    Cox CATS system, okay?

   17    A.    Okay.

   18    Q.    You said you had an opportunity to review the CATS system

   19    in your work in this case?

   20    A.    Yes, I have.

   21    Q.    Okay.    And at a high level, what did your review involve?

   22    A.    It involved, again, looking at the source code of the Cox

   23    CATS system, some of the configuration data related to how

   24    that system was set up to operate.         I looked at copies of some

   25    of the policies that the CATS system was intended to implement




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 52 of 149 PageID#
                                   30578
                                                                                             538

                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division




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                                          :
         SONY MUSIC ENTERTAINMENT, et al.,:
                        Plaintiffs,       :
                                          :
              -vs-                        :              Case No. 1:18-cv-950
                                          :
         COX COMMUNICATIONS, INC., et al.,:
                        Defendants.       :
                                          :
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                                               VOLUME      3   (P.M. Portion)




                                     TRIAL TRANSCRIPT


                                     December 4, 2019


                           Before:    Liam O'Grady, USDC Judge


                                         And a Jury




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 53 of 149 PageID#
              S. Bahun - Direct        30579
                                                                                                    635

            1   A.   Over the course of that time, it's in the millions.

            2   Q.   And have you ever had occasion to see Audible Magic

            3   misidentify a recording?

            4   A.   No, never a single one misidentified.

            5   Q.   So what happens after you get a confirmation that a file

            6   is infringing?

            7   A.   So once it's confirmed that it's infringing, then we move

            8   on to the third step in this diagram here where we collect

            9   evidence.

16:50:21   10                And what's involved there is we actually connect --

           11   we establish a full connection with every peer who is involved

           12   in the swarm to collect that evidence about the file that

           13   they've distributing.

           14   Q.   And where do you collect that evidence to?

           15   A.   Into our system, yeah.

           16   Q.   And what is the process of collecting the evidence?                       Can

           17   you describe that.

           18   A.   Sure.    So after the file has been verified as infringing

           19   and we're monitoring the swarm, we see peers, in some cases

16:51:02   20   peers that are already actively distributing the swarm.                       Our

           21   system will sit and monitor that so we can see as new peers

           22   enter.

           23                And as new peers are discovered, our system will

           24   establish a full connection with that peer.                That connection

           25   allows us to kind of communicate back and forth through the




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 54 of 149 PageID#
              S. Bahun - Direct        30580
                                                                                                   636

            1   specified process that the peer-to-peer network has

            2   established.

            3              Each of those communication steps are logged in the

            4   evidence that we store for that instance of infringement.

            5   Q.   If you don't connect to a peer, can you see what a peer on

            6   the swarm is doing?

            7   A.   Can you clarify?     Sorry.

            8   Q.   I think you testified that when a peer comes into the

            9   swarm, you connect to them, and so you can exchange

16:52:01   10   information.   Are you able to see what one peer is doing with

           11   another peer if you're not connected to them?

           12   A.   No.

           13   Q.   And why is that?

           14   A.   It's the design of the protocols.              So we can have full

           15   visibility into what the peer is doing if we are connected

           16   directly to them, but we don't have visibility of their

           17   communication with other peers.

           18   Q.   And what is it that -- the process of connecting to the

           19   peer that you engage in, what is that called?

16:52:36   20   A.   Oftentimes we call it the handshake.

           21   Q.   And what is the handshake?

           22   A.   So it's essentially a process, you can think of it as a

           23   digital handshake where there's an exchange of certain messages

           24   from our side and from the other peer's side, and kind of that

           25   mutual exchange of messages is what we refer to as the




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 55 of 149 PageID#
              S. Bahun - Direct        30581
                                                                                                   637

            1   handshake.

            2                And part of those messages, there's some key data

            3   that's exchanged.    The peer confirms to us what file.                    Based on

            4   the unique file identifier, it's called a hash.                  They give us

            5   that hash.    They also tell us how much of the file they have

            6   and are distributing in the swarm.

            7   Q.   Does MarkMonitor actually download the infringing file

            8   from that peer?

            9   A.   No.     At that point, it's not necessary.

16:53:34   10   Q.   Why not?

           11   A.   Well, we've already downloaded the file in its entirety

           12   when we initially found it.        So we know what the file is, and

           13   we have the unique file identifier that guarantees what that

           14   file is.   It's unique to that specific file.

           15                And so, when we communicate with the peer, they tell

           16   us what they have, which confirms the file, and they tell us

           17   what they're distributing.        So there's no need to go further

           18   than that when they've confirmed it.

           19   Q.   Okay.    So what happens after MarkMonitor collects

16:54:11   20   information about a peer's distribution and stores it?

           21   A.   So after we collect that information, the collection of

           22   all of that data is packaged up and certain elements of the

           23   data are then inserted into what we call a notice.                   You can

           24   think of it as an e-mail.

           25                We put that information into the notice, and then the




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 56 of 149 PageID#
              S. Bahun - Direct        30582
                                                                                                     659

            1   any.   But the majority of the ones we were unable to produce

            2   were from 2012.

            3   Q.     Can we, please, look at PX-17.            Publish that, please.

            4                  It may be -- unless you recognize it from this, I

            5   will ask Mr. Duval to open one of these folders.

            6                  Do you recognize this directory?

            7   A.     Yeah, if you could open one --

            8   Q.     Open one of the folders?

            9   A.     Yeah.

17:26:24   10   Q.     And maybe open one of those.

           11   A.     Yes.    Okay.   Yes, I recognize it.

           12   Q.     What is this exhibit?

           13   A.     So these are copies of all of the notices -- excuse me,

           14   all of the notices that were sent to Cox Communications.

           15   Q.     And do you know roughly the time frame for the notices

           16   that were sent in this directory?

           17   A.     Yes.    I believe it -- excuse me, I believe it was January

           18   of 2012 through March of 2015.

           19   Q.     And I want to look at just one of these notices, please.

17:27:08   20   And we have one up.      Great.      Can we zoom in on just the top

           21   piece there that says -- above:            Begin PGP sign message.

           22                  Can you just describe what this portion of the notice

           23   is.

           24   A.     Yeah, I'm sorry.     You said the top section here?

           25   Q.     Yeah, just the top section.




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 57 of 149 PageID#
              S. Bahun - Direct        30583
                                                                                                        660

            1   A.      So the -- yeah.       The way we store these, the top section

            2   that kind of is above the:             Begin PGP sign message where the

            3   dashes are, is actually the message header.                     So this is just --

            4   we store the information about the message when it was sent.

            5   So --

            6   Q.      And then below that, the -- with:                Dear sir.

            7   A.      Yeah, so that's --

            8   Q.      Sir or madam.    Sorry.

            9   A.      Yeah, that portion is what we call the body of the notice.

17:28:02   10   It's the actual e-mail that was sent to Cox.

           11   Q.      And who would have drafted that language?

           12   A.      This would have been an approved notice template that we

           13   got from the RIAA.

           14   Q.      Okay.    And can we just scroll down a little, please.

           15                   So this is the notice that would have gone to Cox?

           16   A.      Yes.

           17   Q.      Okay.    Keep scrolling, please.            Okay.

           18                   And can you go to the bottom part of the notice,

           19   please.

17:28:36   20                   All right.    From List of Infringing Content down, do

           21   you see that?       Can you describe what that is, please.

           22   A.      Yes.    In between kind of the rows of dashes there, that's

           23   where we list out the infringement or the infringing content

           24   that we identified related to this specific notice.

           25   Q.      So it says:     Infringing work, "No Love."                What is that?




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 58 of 149 PageID#
              S. Bahun - Direct        30584
                                                                                                   661

            1   A.   That would be the -- or infringing work -- "No Love" is

            2   the name of the song in this case.

            3   Q.   Okay.    And what is File Name?

            4   A.   The file name is the actual name of the file that we found

            5   on the peer-to-peer network.

            6   Q.   Okay.    And what is First Found and Last Found?                  What does

            7   that mean, excuse me?

            8   A.   The first found and last found are specific timestamps --

            9   previously in the logs, I think it was called initiated and

17:29:39   10   completed.    But these are essentially start and stop time

           11   periods of when we saw the peer distributing in this particular

           12   infringement.

           13                It's meant to give the ISP a marker so that they can

           14   use it to look up the subscriber that was using this IP during

           15   that window of time.

           16   Q.   All right.    I think we know what File Size is.

           17                What is the IP Address?

           18   A.   So this is the IP address.          And just below it the port

           19   specific to the peer that we observed infringing here.

17:30:12   20   Q.   And the network in this case?

           21   A.   Gnutella.

           22   Q.   So the information contained within this, where does that

           23   come from?

           24   A.   This comes directly from the log files that we went

           25   through.   So this is the -- essentially the infringement




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 59 of 149 PageID#
                                   30585
                                                                                             807

                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division




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                                          :
         SONY MUSIC ENTERTAINMENT, et al.,:
                        Plaintiffs,       :
                                          :
              -vs-                        :              Case No. 1:18-cv-950
                                          :
         COX COMMUNICATIONS, INC., et al.,:
                        Defendants.       :
                                          :
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                                               VOLUME      4   (P.M. Portion)




                                     TRIAL TRANSCRIPT


                                     December 5, 2019


                           Before:    Liam O'Grady, USDC Judge


                                         And a Jury




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 60 of 149 PageID#
          G. McCabe - Direct       30586
                                                                                             811

     1   subscribers.

     2                 The pie chart depicts that -- those numbers expressed

     3   as percents.     So 95 percent of the subscribers were

     4   residential, and 5 percent were business.

     5   Q.    And, Dr. McCabe, what is the source of the data records

     6   you used to assess the breakdown of the Cox subscribers who

     7   were the subject of MarkMonitor's notices?

     8   A.    Could we go back to the slide that has the datasets on it?

     9   Q.    Sure.    That would be -- please let me know when I'm there.

   10    A.    Yeah, that's fine.      So it's along the top.              So it's Cox

   11    data, and it's the third file, which is -- in this display is

   12    called billing information.         So billing information is the

   13    connector for the defining residential versus business.

   14    Q.    I'm going to, if it's okay, bring us back to the slide we

   15    were just on.     Is there anything else about this slide that --

   16    A.    I think that's it.      95 percent versus 5 percent, yeah.

   17    Q.    Okay.    And would you please explain to the jury what's

   18    being depicted in this slide with respect to your repeat

   19    offender analysis?

   20    A.    Yes.    So here I looked at the -- excuse me -- I looked at

   21    the, the source of the, of the notice.               So the notices that I

   22    have recorded from, as infringers -- I'm sorry -- the notices

   23    from going back to MarkMonitor, for those rights holders, my

   24    understanding is they're the plaintiffs in this suit, but the

   25    Cox file also contains notices from other rights holders.




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 61 of 149 PageID#
          G. McCabe - Direct       30587
                                                                                             812

     1                 So basically here what I did was look again at

     2   subscribers, so it's a subscriber analysis, and

     3   17,729 subscribers had notices from other rights holders.

     4                 So, again, 17,729 out of 57,600, that's depicted in

     5   the pie chart as 30.8 percent.           So 30.8 percent of the

     6   subscribers had notices from other rights holders.

     7   Q.    So out of the 57,600 Cox subscribers reported in

     8   MarkMonitor's notices, a little less than a third of them were

     9   also the subject of notices that led to tickets as reported by

   10    the rights holders?      Is that what you're saying?

   11    A.    That's correct.

   12    Q.    Okay.    And is this also based on Cox's records, the ticket

   13    data that you described earlier?

   14    A.    That's correct.

   15    Q.    Okay.    Looking at the next slide you have here, would you

   16    explain to the jury what the purpose of this slide is?

   17    A.    Yeah.    The purpose is to depict the analysis that I did

   18    related to claims -- or notices, sorry, notices before the

   19    claim period.     So if you look at the timeline on the bottom in

   20    yellow there, the bar with arrows at the end, that's the

   21    definition of a claim period, February 1, 2013, to November 26,

   22    2014, with a caveat that there's a different start time for the

   23    one plaintiff.

   24                  Superimposed on that in the gray is the time frame

   25    for the Cox ticket data.        So for the Cox ticket data, that




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 62 of 149 PageID#
                                   30588
                                                                                             924

                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division




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                                          :
         SONY MUSIC ENTERTAINMENT, et al.,:
                        Plaintiffs,       :
                                          :
              -vs-                        :              Case No. 1:18-cv-950
                                          :
         COX COMMUNICATIONS, INC., et al.,:
                        Defendants.       :
                                          :
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                                               VOLUME      5   (A.M. Portion)




                                     TRIAL TRANSCRIPT


                                     December 6, 2019


                           Before:    Liam O'Grady, USDC Judge


                                         And a Jury




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 63 of 149 PageID#
              L. Trickey - Direct      30589
                                                                                                    947

            1   100 million in revenue; at 2010, was over a billion; and

            2   expected by 2016 to be over 2 billion, right?

            3   A.   Yes, that's what it says.

            4   Q.   And it was a -- so it was a growing business?

            5   A.   Uh-huh, yes.

            6   Q.   I'd like to turn to PX 178, please.

            7   A.   I'm sorry, what document again?

            8   Q.   I'm sorry, PX 178.

            9               MR. OPPENHEIM:      Any objection?

11:40:36   10               MR. ELKIN:    No objection, Your Honor.

           11               THE COURT:    It's received.

           12   BY MR. OPPENHEIM: (Continuing)

           13   Q.   Ms. Trickey, earlier we looked at an Acceptable Use

           14   Policy.    That was for residential customers, right?

           15   A.   Yes.

           16   Q.   This is the Acceptable Use Policy for business customers,

           17   correct?

           18   A.   Yes.

           19   Q.   And this particular copy is as of October 1, 2012,

11:41:03   20   correct?

           21   A.   Yes.

           22   Q.   And the -- could you read the first two sentences of this

           23   document, please.

           24   A.   This Acceptable Use Policy, AUP, applies to all Cox

           25   Business Internet-related services, including, without




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 64 of 149 PageID#
              L. Trickey - Direct      30590
                                                                                                  948

            1   limitation, services provided through WiFi, service or

            2   services.   Use of any of the services shall at all times be

            3   subject to the terms and conditions of this AUP.

            4   Q.   And then it goes on to say that -- strike that.

            5               Those first sentences say that this AUP applied to

            6   all Cox Business customers, correct?

            7   A.   For the Internet-related services.

            8   Q.   For Internet-related service, not for necessarily

            9   telephone, right, or television --

           10   A.   Right.

           11   Q.   -- or other services?       But for Internet, it applied to all

           12   of Cox's business customers, right?

           13   A.   Yes.

           14   Q.   And then the next sentence says:            This AUP is incorporated

           15   into any applicable agreement between Cox Business and the

           16   customer -- excuse me -- that states the AUP applies, including

           17   without limitation, any applicable commercial services

           18   agreement and retail or wholesale master services agreement;

           19   correct?

11:42:21   20   A.   Yes.

           21   Q.   And so, this is saying that this is -- this applied even

           22   if there is another agreement that Cox might have with that

           23   customer, Cox Business may have with that customer, right?

           24   A.   Yeah, typically there was a customer service agreement

           25   that incorporated this document by reference.




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 65 of 149 PageID#
              L. Trickey - Direct      30591
                                                                                                   949

            1   Q.   And the next paragraph says that if there's a conflict

            2   between those two contracts, this AUP trumps, or is in charge,

            3   or applies, right?

            4   A.   Yes, it says the terms of this AUP will govern.

            5   Q.   Govern.   And by saying "will govern," that if there's a

            6   conflict between a specific agreement and the AUP, the AUP is

            7   what the customer has to follow, correct?

            8   A.   Yes.

            9   Q.   Okay.   Now, in section A-1, that's much like the

11:43:09   10   residential AUP, it prohibits the customer from doing anything

           11   that would -- on the Internet service that would violate

           12   federal law, correct?

           13   A.   Yes.

           14   Q.   And as before, federal law included copyright

           15   infringement, correct?

           16   A.   Yes.

           17   Q.   And then it goes on at the last sentence of that paragraph

           18   to say, that the customer also could not use the service in a

           19   manner that infringes on copyright, among other things,

11:43:39   20   correct?

           21   A.   Yes.

           22   Q.   So again, just like the residential agreement, Cox

           23   Business customers were not allowed to commit copyright

           24   infringement on Cox's high-speed Internet service, in two

           25   different places it's prohibited, correct?




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 66 of 149 PageID#
              L. Trickey - Direct      30592
                                                                                                   950

            1   A.   You mean residential and business?              Is that what you mean

            2   by "two different places"?

            3   Q.   No.

            4   A.   Oh.

            5   Q.   In two different provisions of this agreement --

            6   A.   Oh, I see.

            7   Q.   -- say, you're not allowed to use Cox's Internet service

            8   to commit copyright infringement?

            9   A.   Yes.

11:44:11   10   Q.   In section 5 on the next page it says, well, any reference

           11   in this agreement to customer shall also apply to any end user

           12   of the service, correct?

           13   A.   Yes.

           14   Q.   So, for example, if I run an apartment building, and I am

           15   the customer of Cox, and I've got residents in the apartment

           16   building who are end users, those end users are subject to this

           17   AUP, correct?

           18   A.   Yes.

           19   Q.   And it goes on to say that if the customer allows others

11:44:51   20   to use the service, the customer is responsible for ensuring

           21   that the end users comply with the AUP, right?

           22   A.   Yeah, typically via contract.

           23   Q.   Right.     So going back to my example, I then, if I'm

           24   managing the apartment building, would have to make sure that

           25   the residents comply with the AUP, right?




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 67 of 149 PageID#
              L. Trickey - Direct      30593
                                                                                                     951

            1   A.      Yeah.    You'd probably put it in your lease.

            2   Q.      Maybe that's how I'd it, right.            And then it goes on and

            3   says:    Customer is responsible for ensuring that all accounts,

            4   sub-accounts, and alternative account names associated with

            5   customer's principal account comply with the AUP, right?

            6   A.      That's what it says.

            7   Q.      Now, let's turn to section six of this document, please.

            8   And that's a section called Resale and Redistribution Services,

            9   correct?

11:45:54   10   A.      Yes.

           11   Q.      So this applies in situations where Cox's customer maybe

           12   is running their own small ISP, correct?

           13   A.      It could be an ISP, yes.

           14   Q.      Right.    So I might be located in -- I don't know, pick a

           15   small town somewhere, and I want to run an ISP in that town, I

           16   may enter into an agreement with Cox, Cox provides me with the

           17   ability to then sell to others in the town, right?                     That would

           18   be the situation?

           19   A.      That's one possible situation, yes.

11:46:33   20   Q.      Among many situations, right?

           21   A.      Right.

           22   Q.      Okay.

           23   A.      Yeah, it lists a number of them in here in this paragraph.

           24   There's a lot of options.

           25   Q.      And the first paragraph of this, it says -- let's --




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 68 of 149 PageID#
              L. Trickey - Direct      30594
                                                                                                   952

            1   actually, let me skip down to -- skip down to row (vi), or

            2   romanette (vi).

            3                Could you read that, please.

            4   A.   Customer is responsible for ensuring that all end users of

            5   the services agree to the terms and conditions of this AUP as

            6   may be amended from time to time.

            7   Q.   Okay.    So this is, again, just like what we were reading

            8   before, that the customer is responsible for end users, where I

            9   use my apartment building as an example, this is saying the

11:47:32   10   same thing applies with respect to a reseller of Cox's

           11   services, right?

           12   A.   Yes.

           13   Q.   And then it goes on and it says in the next parentheses,

           14   romanette (vii):    If customer becomes aware of violation of the

           15   AUP by any of its end users, customer shall suspend the

           16   services to such end users and shall notify Cox Business in

           17   writing as soon as reasonably practicable, right?

           18   A.   That's what it says.

           19   Q.   So the first time that a customer becomes aware that one

11:48:23   20   of its end users is violating the AUP, that customer must

           21   suspend the end user, right?

           22   A.   Well, that's what it says.

           23   Q.   And it uses the word "shall," right?

           24   A.   Yes.

           25   Q.   It's not discretionary, right?




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 69 of 149 PageID#
              L. Trickey - Direct      30595
                                                                                                     953

            1   A.   I mean, that's what it says.

            2   Q.   There's no graduated response here, right?                    It's, you get

            3   caught once, you suspend?

            4   A.   Yeah.    I don't know if the customer had their own

            5   graduated response process or procedure.                 I'm just going by

            6   what the document says.

            7   Q.   According to Cox, that customer was not allowed to have a

            8   graduated response, correct?

            9   A.   Okay.    Yeah, I -- no, I don't know that.

11:49:04   10   Q.   Well, isn't that what this provision says when it says

           11   that the customer shall suspend services to the end user?

           12                MR. ELKIN:    Objection.

           13                THE COURT:    Overruled.

           14                Do you have an understanding from reviewing the words

           15   themselves?    You may respond.

           16                THE WITNESS:     Yeah, I'm --

           17                THE COURT:    If you don't understand --

           18                THE WITNESS:     Right.      I'm not sure.

           19   BY MR. OPPENHEIM: (Continuing)

11:49:27   20   Q.   So you were involved with the abuse group for a year as

           21   their legal counsel, and you were also responsible for the

           22   business AUP, and you're testifying that you don't understand

           23   what the legal obligations were you were imposing on the Cox

           24   Business customers?       Is that your testimony?

           25   A.   So I know what it says, but I never actually had occasion




                                          Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 70 of 149 PageID#
                                   30596
                                                                                            1009

                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division




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                                          :
         SONY MUSIC ENTERTAINMENT, et al.,:
                        Plaintiffs,       :
                                          :
              -vs-                        :              Case No. 1:18-cv-950
                                          :
         COX COMMUNICATIONS, INC., et al.,:
                        Defendants.       :
                                          :
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                                               VOLUME      5   (P.M. Portion)




                                     TRIAL TRANSCRIPT


                                     December 6, 2019


                           Before:    Liam O'Grady, USDC Judge


                                         And a Jury




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 71 of 149 PageID#
              R.L. Vredenburg - Direct 30597
                                                                                                   1110

            1               MR. BUCHANAN:     Got it.

            2               MR. OPPENHEIM:      Tab 13.

            3               MR. BUCHANAN:     Show it to him?

            4               MR. GOULD:    No.

            5               THE COURT:    He is impeaching him, not trying to

            6   refresh his recollection.

            7   BY MR. GOULD: (Continuing)

            8   Q.   Mr. Vredenburg, in your sworn -- that was in December

            9   2015 --

16:49:04   10               THE COURT:    Just ask him what question he was asked

           11   and what his answer was.

           12   BY MR. GOULD: (Continuing)

           13   Q.   Were you asked this question and did you give this answer,

           14   Mr. Vredenburg:   And when you started -- excuse me -- all

           15   right.    So when you started in 2004, you were a 2.O TOC; is

           16   that correct?

           17               When I started in 2004, I was 2.0 tech.

           18               And when you started, there was a three-strike policy

           19   for copyright infringement notices and the customer was

16:49:28   20   terminated; is that correct?

           21               As far as I know, yes, there was a three-strike.

           22               Are you changing your testimony, sir?

           23   A.   No, I am not changing.         There was never an actual

           24   three-strike policy.

           25   Q.   And you recall over time Cox's graduated response was




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 72 of 149 PageID#
                                   30598
                                                                                            1138

                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division




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                                          :
         SONY MUSIC ENTERTAINMENT, et al.,:
                        Plaintiffs,       :
                                          :
              -vs-                        :              Case No. 1:18-cv-950
                                          :
         COX COMMUNICATIONS, INC., et al.,:
                        Defendants.       :
                                          :
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                                               VOLUME      6   (A.M. Portion)




                                     TRIAL TRANSCRIPT


                                     December 9, 2019


                           Before:    Liam O'Grady, USDC Judge


                                         And a Jury




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 73 of 149 PageID#
              M.J. Flott - Direct      30599
                                                                                                  1193

            1                So brings back a lot of good memories.

            2   Q.   And how -- what do these sound recordings represent to

            3   Warner Music Group?

            4   A.   They're some of the most iconic songs in our catalog and,

            5   you know, we want to make sure they're protected.

            6   Q.   Have you listened to any of the infringing music files in

            7   this case?

            8   A.   I have.

            9   Q.   How many?

10:18:19   10   A.   I listened to 100.

           11   Q.   And how were those 100 selected?

           12   A.   It was a random statistical sample.

           13   Q.   And why did you listen to a sample of the infringing music

           14   files in this case?

           15   A.   I wanted to make sure that I familiarized myself with what

           16   was being infringed and whether they were in fact our songs.

           17   Q.   And what did you conclude after listening to those files?

           18   A.   That they are in fact our songs listed within the exhibit.

           19   Q.   All right.    Let's turn to the revenues generated from

10:18:55   20   Warner Music's -- Warner Music Group's sound recordings.

           21                What are the different ways that Warner Music makes

           22   money from its sound recordings?

           23   A.   We will sell our music in various formats to customers.

           24   And we will also license music into sound tracks, into

           25   commercials, films.




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 74 of 149 PageID#
              M.J. Flott - Direct      30600
                                                                                                  1194

            1                We will license them to competitors in some cases to

            2   put together compilations and other works.

            3                It will also lead to what we call artist services and

            4   expanded rights.    So those are other ancillary rights that we

            5   might have in concert promotion, in merchandise, and some other

            6   areas like that.

            7   Q.   You mentioned formats.        What are the different types of

            8   formats that Warner Music Group sells with sound recordings?

            9   A.   Sure.    We sell records in a physical format, so that would

10:20:01   10   be either a compact disc or a vinyl record.                They may also come

           11   in a box set.    We sell it in digital formats, downloads, and

           12   streaming.    We also sell it in mobile formats, ring back tones.

           13                Those are the primary formats that we sell music in.

           14   Q.   What is Warner Music Group's view on paying its artists?

           15   A.   We see it as fundamental to our business.                  Our initial

           16   relationship is with the artist.           We have to build the trust

           17   that they know that we're going to help them develop their

           18   careers and that they know that they will be -- they will be

           19   paid for the sales that we do on their behalf and our behalf.

10:20:56   20   Q.   How would you react if someone said that the Warner Music

           21   Group record labels are not collection agents for their

           22   artists, but that they actually just collect money for

           23   themselves?

           24   A.   I would say they're misinformed and patently wrong.

           25   Fundamental to how and why we've been in business for the




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 75 of 149 PageID#
              M.J. Flott - Direct      30601
                                                                                                  1195

            1   decades that we've been in business and, you know, our

            2   competitors in some cases longer than that, if we didn't have

            3   the trust of our artists that they were going to get paid, then

            4   we wouldn't be able to continue to sign and develop and attract

            5   artists year in and year out.

            6   Q.   In your role as executive vice-president and chief

            7   financial officer, are you familiar with peer-to-peer piracy?

            8   A.   I am.

            9   Q.   Has Warner Music Group been impacted by peer-to-peer

10:22:01   10   piracy?

           11   A.   We have.

           12   Q.   What has been that impact?

           13   A.   It has been -- it's been enormous and significant.                       In a

           14   period of time when music consumption has risen year in and

           15   year out, as an industry we've seen revenues decline over that

           16   period, over a period of time from its peak to where we are

           17   today.

           18   Q.   What were the consequences of this revenue decline to the

           19   music industry as a whole?

10:22:46   20   A.   Well, first and foremost, you know, artists were not

           21   getting paid.    Copyright holders weren't getting paid, as well

           22   as union members, as well the musicians working on those

           23   records.

           24                We, as Warner Music Group, had to rationalize our

           25   infrastructure or the labels that we had, and we've had to go




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 76 of 149 PageID#
              M.J. Flott - Direct      30602
                                                                                                1196

            1   through at different points in time and either close labels

            2   down, merge them together.

            3             Probably the clearest example I could give you would

            4   be two of our kind of founding labels of Atlantic and Elektra

            5   being merged together to rationalize their costs simply because

            6   of the revenue decline.

            7             You know, Elektra is the home of artists like "The

            8   Doors" and "The Eagles" and "Anita Baker" and others like that.

            9   So we also had to lay off people just in terms of looking at

10:23:57   10   what our revenue base could afford and what we wanted to return

           11   to our owners.

           12   Q.   I'd like to hand up the witness a copy of an exhibit

           13   that's been premarked as PX 486.         Thank you.

           14             Mr. Flott, have you seen this document before?

           15   A.   I have.

           16   Q.   And at a high level, what is this document?

           17   A.   It reflects the revenues of the U.S. recorded music

           18   business over a period of time.

           19   Q.   Where does this document come from?

10:24:39   20   A.   It comes from the RIAA, which is our U.S. industry

           21   association.

           22   Q.   And how is it that you come across this type of document?

           23   A.   It is regularly published, and it's a document that I look

           24   at on a regular basis.

           25             With the RIAA, we do a regularly quarterly call where




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 77 of 149 PageID#
              M.J. Flott - Direct      30603
                                                                                                     1197

            1   we go through performance.           It's also on their Web site as

            2   well.

            3                MS. NOYOLA:     I'd like to move PX 486 into evidence.

            4                THE COURT:     Any objection?

            5                MR. BUCHANAN:      No, Your Honor.

            6                THE COURT:     It's received.

            7   BY MS. NOYOLA: (Continuing)

            8   Q.      Mr. Flott, can you describe what this chart shows.

            9   A.      This chart is reflecting the U.S. recorded music revenues.

10:25:28   10   If I look at the left most column, that's marked as the year

           11   2000 where industry revenues were in excess of $14 billion.

           12                It continues to the right to 2014 where the revenues

           13   are just under $7 billion.

           14   Q.      And is this chart specific to Warner Music Group?

           15   A.      No, it's the U.S. recorded music revenues.

           16   Q.      Tell us what these different colors on this chart show.

           17   A.      Each color represents a different format.                  So the largest

           18   color that you see on the left side of the page being orange,

           19   that's the compact disc.

10:26:15   20                And as you move to the right, you'll see other

           21   formats as they came into play.             So in 2004, you start to see

           22   purple.    That is the -- that's a download, and the different

           23   shades are the different forms of whether it was a single or an

           24   album.

           25                And then we start to see in 2005 green start to come




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 78 of 149 PageID#
              M.J. Flott - Direct      30604
                                                                                                  1198

            1   in.   And that is streaming and the different types of streaming

            2   revenues that come through.

            3   Q.      Are you familiar with the term "music consumption"?

            4   A.      Yes, I am.

            5   Q.      What does that term mean?

            6   A.      Music consumption means the number of hours that a

            7   consumer is -- generally commits to listening to music.

            8   Q.      And in your day-to-day work, have you become familiar with

            9   the volume of music consumption over this time frame of 2000 to

10:27:19   10   2014?

           11   A.      Yes.

           12   Q.      And how so?

           13   A.      In additional reports that either I've seen come from the

           14   RIAA or other published articles, there's reference made to the

           15   number of hours that a consumer, you know, has committed and

           16   how it's grown from 2000 through to today.

           17   Q.      What is your understanding of the volume of music

           18   consumption from 2000 to 2014?

           19   A.      It has continued to increase year over year, and I think

10:27:58   20   towards the end of this chart, I believe consumers are

           21   committing almost a week a year -- a week a -- sorry.                      A day a

           22   week to consuming music.

           23   Q.      So how does that trend of music consumption compare to the

           24   trend that's shown here about -- on recorded music revenues?

           25   A.      Well, in a normal business model, you would expect -- as




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 79 of 149 PageID#
              M.J. Flott - Direct      30605
                                                                                                1199

            1   consumption grows, you would expect revenues to grow in line

            2   with it.   There may be some shifts as things go, but generally

            3   the trend that we've seen with other formats as they've come in

            4   is that you've seen revenue growth, not revenue decline.

            5   Q.   So how do you explain the revenue decrease over this time

            6   period if music consumption is increasing over the same time

            7   period?

            8   A.   At this same point in time where we made the turn of the

            9   century is really when peer-to-peer piracy was starting to grow

10:29:04   10   at just increasing rates.     And peer-to-peer piracy, by its

           11   nature, is not a sale.    It's actually -- it's stealing music.

           12   None of those tracks that are being shared peer-to-peer are

           13   being paid for.

           14              And as a byproduct, artists, copyright holders,

           15   union, and the rest of the people within the music industry

           16   aren't being paid for those illegal transactions.

           17   Q.   And has Warner Music Group ever tried to calculate its

           18   harm from peer-to-peer piracy?

           19   A.   We've not, other than on a macro -- you know, a macro

10:29:54   20   basis.

           21   Q.   And why haven't you calculated -- why haven't you been

           22   able to calculate Warner Music Group's harm?

           23   A.   The nature of peer-to-peer piracy is it's viral, and

           24   probably maybe the best way I can try and explain how viral it

           25   works is if we use an example of a pebble going into a pond and




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 80 of 149 PageID#
              M.J. Flott - Direct      30606
                                                                                                  1200

            1   it's starting to create ripples.           It's not about the first

            2   transaction or the first infringement that takes place.                       Once

            3   that track gets put up on a site that can be shared, it's then

            4   shared amongst, you know, whoever wants to take it and whoever

            5   then they share it with and they share it with.

            6             So if you kind of think about that initial pebble

            7   coming in, and then the next person taking it and their pebble

            8   dropping in, it creates just these multiple waves.                   So the

            9   viral nature of it, just trying to understand where that wave

10:31:05   10   stops is -- has not been -- it's not something that we've been

           11   able to do.

           12   Q.   When users illegally download and distribute works on

           13   these peer-to-peer networks, how do record companies get paid?

           14   A.   We don't because they're stolen and they don't -- they're

           15   not paying anyone.

           16   Q.   And how did --

           17   A.   Including our artists, including our copyright holders,

           18   including, you know, all of the other people within the chains,

           19   the union musicians, the marketing people, and, you know, the

10:31:40   20   artists themselves.    You know, ultimately no one is getting

           21   paid from those transactions.

           22             MS. NOYOLA:     Thank you, Mr. Flott.

           23             Pass the witness.

           24             THE COURT:     Cross-examination.

           25             MR. BUCHANAN:      Yes, Your Honor.




                                        Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 81 of 149 PageID#
              M.J. Flott - Cross       30607
                                                                                                 1225

            1   Q.   And 1999 was the advent of Napster; is that correct?

            2   A.   In that area, yes.

            3   Q.   Okay.    And in 2001 you had iTunes and Apple?

            4   A.   No, it -- iTunes started late 2003, early 2004.

            5   Q.   Okay.    And that led to what they call the disaggregation

            6   of the album, the CD album, correct?

            7   A.   It created a different format.

            8   Q.   Right.    And the format was you could now pick and choose

            9   whatever individual song you wanted, you didn't have to go buy

11:23:01   10   a CD with 26 songs that cost 25 bucks; isn't that right?

           11   A.   If a consumer chose to do that, yes, but they still had

           12   the ability to buy music in whichever way that they wanted to.

           13   Q.   Right.    But they could make a choice between going on to

           14   iTunes and paying a dollar for their favorite song versus going

           15   to a record store and paying $25 for an album that had 25 songs

           16   and really only wanted one, right?

           17   A.   That is -- was their option, yes.

           18   Q.   So one of the other things that, as I understand it, that

           19   your company did to counter the loss of CD sales due to piracy

11:23:42   20   and downloading was to sign artists up to what they call

           21   360 deals; is that right?

           22   A.   That's correct.

           23   Q.   And they involved basically trying to find artists at the

           24   beginning of their career and then expanding the rights that

           25   your company would own vis-à-vis that artist, right?




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 82 of 149 PageID#
              J. Zabek - By Depositon  30608
                                                                                                  1265

            1   revenue, but it wasn't our main strong point in looking at

            2   that.

            3   Q.      Mr. Zabek, isn't it in fact true that you, in this

            4   declaration in 2015, testified that when you implemented the

            5   graduated response procedure, you would keep in mind the effect

            6   on Cox's business, including the potential loss of revenue?

            7   A.      We would keep that in mind.        We would keep it in mind.

            8   Q.      And you understood that when their rights were infringed,

            9   that that was a violation of federal law, right?

12:19:56   10   A.      If -- I think if we could prove that, possibly with a due

           11   process, to look through their computers.               But again, we've got

           12   good faith on one side, we've got good faith on the other side

           13   with the customer also, too.

           14                When we would assist these customers, you know, we

           15   try to help them to see, are they using these products, you

           16   know, legitimately?    Are they using it nefariously?                  Are they

           17   even aware of any of the issue also -- any of these issues.

           18   Q.      I'm handing you what's been marked as Plaintiff's

           19   Exhibit 260, which is an e-mail exchange between you and

12:20:33   20   Terran, T-e-r-r-a-n, Williams in August of 2010.                  And this

           21   document is Bates labeled Cox_Sony_00005212.

           22                Mr. Zabek, in your e-mail exchange with Ms. Williams,

           23   didn't you in fact say at the bottom of your e-mail:

           24   99 percent of DMCA violations is from people using peer-to-peer

           25   on purpose and not Trojan activity; correct?




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 83 of 149 PageID#
              J. Zabek - By Depositon  30609
                                                                                                    1266

            1   A.     Back then, yes, I did state that.

            2   Q.     And yet you also understood that Cox didn't want to lose

            3   customers over copyright violations, correct?

            4   A.     Well, Cox didn't want to lose customers over almost

            5   anything that we could help to avoid it if there was something

            6   that we could assist that customer with.                 I don't know a

            7   business that does want -- that wants to lose customers.                         And,

            8   no, we did not want to lose customers.

            9   Q.     What were the factors that the abuse department would

12:21:52   10   consider in deciding whether or not to terminate a customer?

           11   A.     There are many.     I can't -- it's been so long.                 Um, to

           12   give you those.      A lot of things we would look at would be, you

           13   know, was -- did the customer have any violations for, again,

           14   malware.    You know, any kind of proxy.              Could we assist them,

           15   you know.      Was there -- was there any software on the computer

           16   that they may not have been aware of that maybe somebody else

           17   put on there.      Or, again, if they were enacted by a hacker and

           18   being used to actually transport that data through them also,

           19   too.

12:22:34   20                  So we would look at many different -- several

           21   different factors on there too.            We'd also interview, of

           22   course, the customer also, too, on that.

           23   Q.     You just described -- I asked you --

           24   A.     Yeah.

           25   Q.     -- what were the factors that the abuse department would




                                          Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 84 of 149 PageID#
                                   30610
                                                                                            1293

                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division




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         SONY MUSIC ENTERTAINMENT, et al.,:
                        Plaintiffs,       :
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              -vs-                        :              Case No. 1:18-cv-950
                                          :
         COX COMMUNICATIONS, INC., et al.,:
                        Defendants.       :
                                          :
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                                               VOLUME 6 (P.M. Portion)




                                     TRIAL TRANSCRIPT


                                     December 9, 2019


                           Before:    Liam O'Grady, USDC Judge


                                         And a Jury




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 85 of 149 PageID#
          B. Beck - Direct         30611
                                                                                            1405

     1   123,000, 109,000?     Do you see that?

     2   A.    Yes.

     3   Q.    And you see that as the months continue, that the deleted

     4   notices actually exceed the number of notices that CATS

     5   accepted?

     6   A.    That is the case for some of the months, yes.

     7   Q.    Isn't it the case for all of the months there shown in

     8   2013, sir?

     9   A.    No, it's not.

   10    Q.    No, it's not?    Is there one that you see where the deleted

   11    notices are smaller than the accepted notices?

   12                  Oh, you're right.     May 2013, there were about 10,000

   13    more accepted than deleted.         And the other months, the deleted

   14    exceeded the accepted, correct?

   15    A.    Yes.    That matches what I'm seeing.

   16    Q.    Now, I've done the math here, and I counted the number of

   17    deleted notices in the years shown in this chart, and it's

   18    about 5 million.     And is there any reason to doubt my math?

   19    A.    I would have to run the numbers myself to speak to that.

   20    Q.    Okay.    And then I did the same for the claims period.

   21                  And if we could pull up the first slide of the

   22    demonstrative?

   23                  What this slide shows, sir, is the claim period,

   24    February 2013 through November 2014, for the information we

   25    just looked at, including the accepted notices, the deleted




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 86 of 149 PageID#
          B. Beck - Direct         30612
                                                                                            1406

     1   notices, and the total notices.

     2               Do you see that the total number of notices was about

     3   5.7, 5.8 million that Cox received in this time period?

     4   A.    Based on the document, yes.

     5   Q.    Assuming the math is correct.

     6   A.    That's right.

     7   Q.    And do you see that the number that Cox accepted was just

     8   over 2 million, and that comes to about 36 percent of that

     9   total?

   10    A.    I see.

   11    Q.    And do you see, Mr. Beck, that the number that Cox deleted

   12    is about 3.68 million, which comes to about 63 percent of the

   13    notices?

   14    A.    I see that.

   15    Q.    So according to this sworn information that Cox provided,

   16    Cox deleted over 63 percent of the infringement notices it

   17    received in 2013 and 2014, correct?

   18    A.    Based on the numbers we're looking at.

   19    Q.    And not one of those would have received a customer facing

   20    action of any kind, correct?

   21    A.    For the deleted notices.         They may have received notices

   22    from non-blacklisted senders, however.

   23    Q.    Of those 3.68 million, not a single customer faced any

   24    action, correct?

   25    A.    For those particular notices.




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 87 of 149 PageID#
                                   30613
                                                                                            1429

                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division




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                                          :
         SONY MUSIC ENTERTAINMENT, et al.,:
                        Plaintiffs,       :
                                          :
              -vs-                        :              Case No. 1:18-cv-950
                                          :
         COX COMMUNICATIONS, INC., et al.,:
                        Defendants.       :
                                          :
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                                               VOLUME      7   (A.M. Portion)




                                     TRIAL TRANSCRIPT


                                     December 10, 2019


                           Before:    Liam O'Grady, USDC Judge


                                         And a Jury




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 88 of 149 PageID#
          B. Beck - Direct         30614
                                                                                             1451

     1   ICOMS that he's shown in this column?

     2                 You found it?    All right, let's pull it up.                  We found

     3   it.

     4                 I got it.   Beautiful, thank you.             It takes a village.

     5                 So on this third one, on the business customer, sir,

     6   this was a fraternity based on the information that Cox

     7   provided, so let's see what the fraternity did.

     8   A.    If we found the -- a copy, do you mind if I get the paper?

     9   Q.    Oh, yes.    Absolutely, sir.         And this is PX 549.

   10    A.    I appreciate it.

   11    Q.    So similar in kind, we've counted the number of tickets

   12    for this fraternity business customer, and it was 67 tickets,

   13    and you could figure that out by counting the unique number of

   14    ticket IDs, correct?

   15    A.    That can be determined by counting the ticket IDs, yes.

   16    Q.    Okay.    So let's go to column H and filter again.                     Let's

   17    filter for warnings.

   18                  So out of 67 infringement notice tickets, if you look

   19    on the bottom left, sir, you see that it's 48 warnings to the

   20    customer?

   21    A.    Yes, I see.

   22    Q.    Okay.    And then if we filter for hard limits, that would

   23    be instances where notice or tickets rejected for being over a

   24    complainant's cap, with no customer-facing notice, correct?

   25    A.    Yes, subject to possibly hold for more.                  Yes.




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 89 of 149 PageID#
          B. Beck - Direct         30615
                                                                                            1452

     1   Q.    Nine hard limit replies with no customer-facing action,

     2   correct?

     3   A.    That's what I see.

     4   Q.    And -- okay.    If you could clear that and go back to

     5   column H, and let's look for suspensions or terminations.

     6                 We don't see any suspensions or terminations of the

     7   fraternity, right?

     8   A.    No.

     9   Q.    And likewise, we don't see any terminations for the

   10    fraternity?

   11    A.    No, we do not.

   12    Q.    Okay.    And if we could go, unfilter again, and look the

   13    tickets range from March 2012, correct?

   14    A.    Starting in March 2012.

   15    Q.    All the way through November 2014, correct?

   16    A.    Yes.

   17    Q.    And we don't know what happened after that.                   We don't know

   18    what happened in 2015 because we don't have the data, right?

   19    A.    Correct.    Yes, this report was scoped 2012, 2013, 2014.

   20    Q.    And so for any tickets received but they received no

   21    warning and no hard limit reply, do you know what happened to

   22    those?    I think the count would be about 19.

   23    A.    Do we have a way to filter for those?

   24    Q.    We don't -- I mean, we could filter for -- on H for --

   25    well, changed status to closed would be overinclusive.




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 90 of 149 PageID#
                                   30616
                                                                                            1581

                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division




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                                          :
         SONY MUSIC ENTERTAINMENT, et al.,:
                        Plaintiffs,       :
                                          :
              -vs-                        :              Case No. 1:18-cv-950
                                          :
         COX COMMUNICATIONS, INC., et al.,:
                        Defendants.       :
                                          :
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                                               VOLUME      7   (P.M. Portion)




                                      TRIAL TRANSCRIPT


                                     December 10, 2019


                           Before:    Liam O'Grady, USDC Judge


                                         And a Jury




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 91 of 149 PageID#
          J. Sikes - Video Deposition 30617
                                                                                         1685

     1   with a Bates number Cox_Sony_511291 dated June 5, 2014.

     2                Do you see that either individually or as a recipient

     3   from an e-mail distribution group you are a recipient or sender

     4   of this e-mail?

     5   A.    Yes.

     6   Q.    And once again, Mr. Mathews begins an e-mail chain subject

     7   titled:    Termination Review.

     8                Do you see that?

     9   A.    Yes.

   10    Q.    And Mr. Mathews says:      This customer is well aware of his

   11    actions and is upset that after years of doing this he is now

   12    getting caught.     Customer was advised to stop sharing, check

   13    his wireless, and remove his P2P programs.

   14                 Did I read that correctly?

   15    A.    Yes.

   16    Q.    Can you read your response.

   17    A.    Please advise this customer that this is their final

   18    suspension and reactivation.       If we receive one more complaint,

   19    we will regretfully not be able to provide them with data

   20    service for six months.

   21    Q.    Isn't this the poster child for termination, Mr. Sikes?

   22    A.    Yes.   And if they continued after this point, they would

   23    be terminated, yes.

   24    Q.    So given that termination review on the 13th infringement

   25    notice, it's still not enough?




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 92 of 149 PageID#
          J.C. Fuenzalida - Video Deposition
                                      30618
                                                                                         1702

     1   Q.    Okay.

     2   A.    So these were not the final numbers.

     3   Q.    Okay.    And if you could turn to page 4 of this same

     4   exhibit, please.     This is a slide labeled Executive Summary.

     5   There is a sub-bullet that says:        P2P is the most bandwidth

     6   intensive category.

     7                 Then it says: (13 percent of all broadband

     8   households) on average use 82 gigabytes a month, accounting for

     9   21 percent of all Internet traffic.

   10                  Do you see that sub-bullet?

   11    A.    Yes.

   12    Q.    Could you explain what that means?

   13    A.    Yeah.    This means for the U.S., and a lot of our analysis

   14    was done for profiling the United States user base and then

   15    applying it to Cox.

   16                  So this would mean that 13 percent of all broadband

   17    households across the country engaged in P2P.               And those that

   18    do, use an average of 82 gigabytes per household per month for

   19    peer-to-peer.

   20                  And that total then extrapolated out accounts for

   21    21 percent of all Internet traffic.

   22    Q.    So at the time of this Mid-Term Readout, this was 2012,

   23    correct?

   24    A.    Yes.

   25    Q.    And here you're indicating that Cox has five different




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 93 of 149 PageID#
          J.C. Fuenzalida - Video Deposition
                                      30619
                                                                                         1703

     1   tiers of high-speed Internet service; is that correct?

     2   Ultimate, Premier, Preferred, Essential, and Starter?

     3   A.    Yes.

     4   Q.    And is the idea that each of those tiers has a different

     5   monthly data allowance?

     6   A.    Yes.

     7   Q.    And the idea is that the more data a customer consumes,

     8   the higher the tier they need to move into unless they stop --

     9   stop the usage, correct?

   10    A.    Yes.

   11    Q.    What online activities besides streaming or downloading a

   12    video account for higher bandwidth usage than peer-to-peer?

   13    A.    Okay, just give me a second.

   14                  Okay.   So if you refer to page 18 in the same

   15    document, in terms of the overall, you'll see video streaming

   16    of two different flavors, SD and HD, absorb more bandwidth.

   17                  So then on this slide, it would show that

   18    peer-to-peer is third.      But what it doesn't show is the other,

   19    which contains many other services.

   20                  So those detailed breakdowns are not there.

   21    Q.    Okay.    So after video streaming, peer-to-peer represents

   22    the category that consumes the most bandwidth usage by

   23    subscribers that engage in that activity, correct?

   24    A.    Yeah.    I would have to look at what's in Other, right?

   25    Because Other is 17 percent.       So what I don't know is whether




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 94 of 149 PageID#
          J.C. Fuenzalida - Video Deposition
                                      30620
                                                                                         1705

     1   peer-to-peer usage was forecasted to increase year over year?

     2   A.    Yes.

     3   Q.    And if you could turn to the High Household Profile

     4   section of this excerpt.

     5                 Do you see that?

     6   A.    Yes.

     7   Q.    Does this reflect that inCode forecasted to Cox that for

     8   those that engage in peer-to-peer activity, that their overall

     9   data consumption for peer-to-peer would increase in each of the

   10    years for 2011 to 2015?

   11    A.    Yes.

   12    Q.    In 2011 the Procera data showed that 12-and-a-half percent

   13    of the data of Cox's network was being used for peer-to-peer

   14    file -- file usage, correct?

   15    A.    Yes.

   16          EXAMINATION

   17    BY MS. LEIDEN:

   18    Q.    Could you first turn to the document that Mr. Zebrak

   19    marked earlier as Exhibit 94.       That's the hard copy of the

   20    spreadsheet that you were looking at electronically.

   21    A.    Okay.

   22    Q.    Just a couple of clarifying questions on this data.                    If

   23    you flip to the second tab after the first blue page, the page

   24    titled Summary of Data Usage.

   25    A.    Yes.




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 95 of 149 PageID#
                                   30621
                                                                                            1713

                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division




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                                          :
         SONY MUSIC ENTERTAINMENT, et al.,:
                        Plaintiffs,       :
                                          :
              -vs-                        :              Case No. 1:18-cv-950
                                          :
         COX COMMUNICATIONS, INC., et al.,:
                        Defendants.       :
                                          :
         ---------------------------------:




                                               VOLUME      8   (A.M. Portion)




                                      TRIAL TRANSCRIPT


                                     December 11, 2019


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                                         And a Jury




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 96 of 149 PageID#
              W.H. Lehr - Direct       30622
                                                                                                  1747

            1   A.   Yeah.    I mean, one of the more recent or latest -- I

            2   forget the precise date of it, reviews of the literature, but

            3   it was -- I believe it was after the 2014, said that they found

            4   26 studies of whether or not there was economic harm to rights

            5   holders, and they found that something like 23 out of those --

            6   out of the 26 studies found significant economic harm.

            7                Now, when you say "significant," what you mean is

            8   that you're actually able to demonstrate it within the dataset

            9   using statistical methods to basically sort of pass muster.

09:50:52   10                So it's not like I found evidence, but it's not

           11   statistically significant.        So it doesn't mean that's

           12   meaningless, it just means that, you know, it doesn't cross

           13   that higher bar that academics try and set for themselves in

           14   published literature.

           15                So when they say 23 out of 26 studies found

           16   significant harm, that's -- you know, I would say, you know, a

           17   demonstration of almost universal consensus in the profession.

           18   Q.   And did you agree with that consensus?

           19   A.   Absolutely.    And I think all the other evidence I

09:51:25   20   considered in this matter just goes to confirming that.

           21   Q.   Have you prepared a slide excerpting one of the studies

           22   you reviewed?

           23   A.   Yes.

           24   Q.   Could you tell us about this study and why you've put this

           25   slide here, Dr. Lehr?




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 97 of 149 PageID#
              W.H. Lehr - Direct       30623
                                                                                                   1748

            1   A.   Yeah.     This is one of the studies that I cited, and the

            2   title of the study is Quantifying Global Transfers of

            3   Copyrighted Content Using BitTorrent.

            4                And it's by Alexandria Mateus and John Peha.                    And

            5   I've highlighted, you know, excerpts from this.                  So the first

            6   excerpt is that 10.7 songs were transferred using BitTorrent

            7   for every song sold.

            8                And then also, that the vast majority of music and

            9   video content transferred using BitTorrent is copyrighted.

09:52:12   10                And they find that only .55 percent, less than, you

           11   know, 1 percent, about half a percent of the content in

           12   BitTorrent is not copyright infringing and potentially

           13   legitimate.

           14                So they conclude that BitTorrent transfers result in

           15   hundreds of millions of copyright violations worldwide per day,

           16   and the copyright holders fail to realize significant revenues

           17   as a result.

           18                What these guys did in the study was they looked in

           19   some detail and care at actually what's going on in BitTorrent

09:52:48   20   traffic.   And, you know, it's a fairly comprehensive study, I

           21   think, in doing that.

           22                And what they're saying here is essentially this

           23   research says that the number of illegal copies that are out

           24   there -- because almost all these copies that are going by

           25   BitTorrent are illegal, that's what this is saying, is that




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 98 of 149 PageID#
              W.H. Lehr - Direct       30624
                                                                                                    1749

            1   it's copyrighted material that are being shared over the

            2   BitTorrent network -- it's ten times what the legal sales are.

            3   Q.   Now, Dr. Lehr, there is a document in front of you,

            4   PX 439.

            5   A.   Yes.

            6   Q.   Do you recognize that?

            7   A.   Yes.

            8                MR. GOULD:    I'd move to admit PX 439.

            9                THE COURT:    Any objection?

09:53:32   10                MR. BUCHANAN:     Yes, Your Honor, I would -- no

           11   objection.

           12                THE COURT:    All right.        Your exception is noted

           13   previously.

           14                MR. GOULD:    If we could pull up--

           15                THE COURT:    The exhibit is received.

           16                MR. GOULD:    Actually, you know what, I have got a

           17   slide, so it's fine.

           18   BY MR. GOULD: (Continuing)

           19   Q.   Dr. Lehr, what is PX 439?

09:53:47   20   A.   This is another one of the, you know, documents that I

           21   reviewed in reaching my opinions.             It was, you know, a study

           22   that looked at -- it was another study also looking at some of

           23   the same issues that were touched on in the paper I just saw,

           24   looking at what's actually in BitTorrent traffic.

           25                And so, what they did was they only identified out of




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 99 of 149 PageID#
              W.H. Lehr - Direct       30625
                                                                                                1750

            1   the torrent files, out of 12,500 torrents analyzed, there were

            2   only two files that they offered -- or two torrents that --

            3   files that offered non-infringing content.              So that results in

            4   them including that 99.97 percent of content was infringing.

            5             So this is another example of research of the sort

            6   that was relied upon by analysts and academics trying to think

            7   about this question of does, you know, peer-to-peer file

            8   sharing result in piracy that harms rights holders?

            9             And, you know, it goes to the point of, you know,

09:54:52   10   people that actually looked at this, documents what was, I

           11   would say, commonly known by people that were thinking about

           12   these issues at the time that, you know, of course, the

           13   traffic, peer-to-peer traffic is almost all illegal copyright.

           14   Q.   So how does this -- how do these two articles and the body

           15   of literature tie in with your opinion that this peer-to-peer

           16   infringement causes economic harm?

           17   A.   Well, what the peer-to-peer does is it basically makes it

           18   extremely easy.   So it is kind of like piracy on steroids.

           19   While piracy did happen and has been a problem forever -- you

09:55:35   20   know, when people did discs, you know, did copyright CDs, that

           21   just wasn't quite the same thing.

           22             But if someone can put on the Internet a copy via

           23   broadband connection, especially via a high-speed broadband

           24   connection a copy, the number of times that can be shared is

           25   potentially unlimited.




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 100 of 149 PageID#
               W.H. Lehr - Direct       30626
                                                                                                   1752

            1   to do that, nor does it actually exist.

            2   Q.   So there are three points on your slide here.                    Can you

            3   just walk through and just briefly explain why this data

            4   doesn't exist.

            5   A.   Sure.    So the first issue, problem, if you try to estimate

            6   the revenues -- so I'm trying to figure out how much lower

            7   revenues were as a consequence of the piracy.                 That's what I

            8   would have needed to have done if I was going to try and

            9   estimate what the economic harm to plaintiffs would be.

09:58:10   10                It was clear to me, after looking at the evidence and

           11   what was available in the literature, that evidence did not

           12   exist.   So I didn't attempt to do that.

           13                But if you -- the first thing you would have to do is

           14   estimate that Q, how many unit sales would they have sold in a

           15   world without piracy.     So to do that, the first thing you have

           16   to do is figure out how many illegal copies are out there as a

           17   consequence of the piracy.

           18                So in this case, the data we have is evidence of

           19   infringement using peer-to-peer by subscribers repeatedly, you

09:58:42   20   know, engaging in infringing activity.              We don't observe how

           21   many actual copies were distributed by those subscribers, nor

           22   could we given the way the data was actually collected.                       So

           23   that at best we have a lower bound estimate of the amount of

           24   infringing activity.

           25                So MarkMonitor, which is the principal source of the




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 101 of 149 PageID#
               W.H. Lehr - Direct       30627
                                                                                                 1753

            1   data, wasn't surveying every Cox subscriber all the time.                       And

            2   the -- so they wouldn't have known everything that was going

            3   on.

            4               And a file, even potentially more important, a file

            5   that is distributed illegally, once it gets out there virally,

            6   how many illegal copies that copy can spawn.                You would --

            7   there is no way to precisely estimate that.

            8               So that's the Q.     You don't know what the Q is.                  And

            9   the data in the case doesn't allow you to reliably estimate

09:59:43   10   that, the number of illegal copies.

           11               Now, that number of illegal copies isn't -- doesn't

           12   equate directly to the number of sales that would have

           13   happened.

           14   Q.    Why not?

           15   A.    Because the second thing you have to know is you have to

           16   know how many of those illegal copies would have -- had they

           17   not existed, would have translated into legal sales.

           18               Now, if you say the legal sales would have taken

           19   place at a zero price, then it's okay.             But if you say it's a

10:00:11   20   non-zero price, some of the things that went out there

           21   illegally might not have been bought.

           22               So you have to figure out what was the purchasing

           23   behavior of the subscribers, what they would have done if they

           24   hadn't been able to get the pirated copies.               And that data

           25   doesn't exist.   We don't have detailed data on Cox's




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 102 of 149 PageID#
               W.H. Lehr - Direct       30628
                                                                                                  1771

            1             Can you -- what information did you consider in

            2   forming this opinion?

            3   A.   So I actually -- in this case I actually got, it was

            4   closed, a subsample of Cox's data about the levels of

            5   infringement.    So excerpts from their CATS system that

            6   documented the -- you know, matched the tickets to subscriber

            7   accounts from 2012 to 2014.

            8             So I know what -- how many tickets and when those

            9   tickets arrived for those subscribers in that data.

10:26:11   10             I also received for that subsample of subscribers

           11   from Cox's billing system all of the bills that were billed and

           12   paid by Cox subscribers identified in the CATS data, that

           13   subsample we got, from 2012 to 2016.

           14             So I have like month by month this is how much they

           15   paid for the services they got.          So I had that data and I

           16   matched that up.

           17             And when you match that data up -- there were a few

           18   missing records, you know, in terms of things, but basically

           19   there were 57,279 subscribers that were identified as

10:27:05   20   infringing.     In other words, they had received at least one

           21   ticket, for which I had billing data.

           22   Q.   And for those 57,000-odd subscribers, what did you

           23   determine Cox billed those customers?

           24   A.   Well, then having matched those datasets up, you can go

           25   through and you can sum the revenue over whatever period you




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 103 of 149 PageID#
               W.H. Lehr - Direct       30629
                                                                                                  1772

            1   want.    And the period that I summed it over for this table was

            2   from February 2013 to December 2016.             And that number for all

            3   those subscribers in that -- those 57,279, it is $307 million

            4   that were billed.

            5   Q.      Now, this time frame that you've identified here, why did

            6   you use that time frame?

            7   A.      I used that time frame because I think it's -- one, it's

            8   the claim period in this case and it's illustrative of this.                         I

            9   could have used a different time period.               I mean, I could have

10:28:02   10   shown even more, the numbers would be bigger.

           11                And I didn't -- I wouldn't -- I didn't -- I stopped

           12   at 2016 because that's all the data I had.                I believe a number

           13   of these subscribers were still subscribers and were still

           14   producing revenue.    So that would drive the number up if I had

           15   been given data up to the present.

           16                And presumably also, since the ticket data ends at

           17   2014, a number of those subscribers received additional tickets

           18   and it's possible that additional, you know, subscribers would

           19   have been provided.

10:28:32   20                So this number here is what the data is.                 I am

           21   showing you what's in the data and give you an idea of what

           22   it's telling you.

           23   Q.      I'll turn to 3+ and 5+ in a moment.            But I want to

           24   understand what do the amounts that Cox billed and collected

           25   from these customers tell you about Cox's incentives or




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 104 of 149 PageID#
               W.H. Lehr - Direct       30630
                                                                                                 1773

            1   benefits in respect to infringement or infringing customers?

            2   A.   Well, there is various standards one might have to

            3   determine, you know, what's infringing.             But this is evidence

            4   that I believe -- I think the evidence in this case

            5   demonstrates credibly that Cox knew they had a significant

            6   number of infringing subscribers on their network.

            7             And we will talk about other things.                 Like for

            8   example, they knew they had a lot of peer-to-peer traffic on

            9   their network.    And they also knew that peer-to-peer traffic is

10:29:29   10   almost all infringing traffic.

           11             But this is data from their own billing system of

           12   subscribers that were identified to them by the RIAA in the

           13   messages sent to them as these are subscribers engaging in

           14   infringement.    And Cox continued to bill these subscribers even

           15   though they were infringing, deriving a direct financial

           16   benefit from these subscribers that is in the hundreds of

           17   millions of dollars.

           18   Q.   Why have you included in your slide here, Dr. Lehr, an

           19   entry showing direct infringers with just one ticket?                     How does

10:30:08   20   that demonstrate Cox's economic incentives versus a direct

           21   infringer who had just one ticket in Cox's system?

           22   A.   Well, first off, I think to understand what's going on

           23   here, you ought to have some sense of the dataset.                  So the

           24   dataset begins with infringers that have one or more tickets.

           25   So I think that's the first reason you absolutely want to show




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 105 of 149 PageID#
               W.H. Lehr - Direct       30631
                                                                                                1774

            1   it.

            2             But the other is because you're trying to get a

            3   handle on evidence that shows that Cox actually benefitted,

            4   that its incentives -- what the theory tells you comports with

            5   what the evidence actually shows and is demonstrated by Cox's

            6   actual behavior.

            7             So the theory tells you that a business operates to

            8   generate profits and do the right things.             And so, it's in

            9   Cox's incentive to retain profitable subscribers.

10:31:00   10             Cox, indeed, retained profitable subscribers.                     And it

           11   chose to retain and earn significant revenues and profits from

           12   subscribers that were identified as infringing.

           13             Now, you know, whether or not these -- you should

           14   say, oh, you know, those subscribers that only got one ticket

           15   weren't really infringing, I'm not arguing with that.                    Although

           16   the data suggests that the fact that they got one ticket, given

           17   what I said earlier and given what we know about the nature of

           18   the sampling of the data, means that there is maybe a bunch of

           19   people that never got a ticket that were infringing merrily.

10:31:42   20   They got one ticket and they infringed a lot more, but didn't

           21   get subsequent tickets.    And we don't know how many

           22   infringements are associated with the subscriber that got

           23   identified.

           24             So I'm not trying to tell you how to map to a number

           25   of infringements.   That's not my testimony here.               It's about




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 106 of 149 PageID#
               W.H. Lehr - Direct       30632
                                                                                                  1775

            1   what is their economic incentive to knowingly tolerate having

            2   infringing subscribers on their network.

            3                And I believe the $307 million gives you an idea that

            4   they had a very large economic and financial incentive from

            5   that.

            6   Q.      Now, when Cox would have considered the value of these

            7   direct infringing subscribers in the context of this economic

            8   incentive opinion, would Cox have considered just some of the

            9   value of that customer, or more of the value of that customer,

10:32:27   10   or the entire value of that customer?

           11   A.      Cox is in a continuous business of trying to get

           12   customers, trying to hold on to the customers it has.                      And

           13   that's especially valuable because it costs money to acquire

           14   customers.    And if you already have them, it is much more

           15   profitable to keep them.       And so Cox was continuously doing

           16   that.    And so, as I said, the economic basic data shows that.

           17                This data shows that in fact they were capturing

           18   significant revenue from infringing subscribers.                  And the fact

           19   that I catch you at some certain point in your career doesn't

10:33:05   20   mean you weren't infringing before.            I don't have ticket data

           21   about what -- some of these subscribers that may have been

           22   subscribers before 2012.       I only have data of these subscribers

           23   and the tickets they received between 2012 and 2014.                       That's a

           24   sliding window.    And I don't have the revenue from before.

           25                So, these subscribers and the benefit to Cox is




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 107 of 149 PageID#
               W.H. Lehr - Direct       30633
                                                                                                  1776

            1   greater than the evidence that I have here.

            2   Q.   Now, looking again at the time frame.                If you had limited

            3   this to just the claim period, February 2013 to November 2014,

            4   would that impact your opinion?

            5   A.   Well, it wouldn't impact my opinion that Cox had a very

            6   significant economic benefit.         It would change the numbers

            7   because, for example, it would make the billing charges that

            8   are reported here go down.

            9                And just one other point here.            These numbers are the

10:33:58   10   billing charges.    The evidence shows and the testimony by Cox

           11   is that the actual revenues received by Cox were almost

           12   99 percent of what was billed.

           13                So it's not like this is what was billed, but maybe a

           14   bunch of these people didn't pay their bills.                 No, most of

           15   these people did pay their bills.           And so, the difference

           16   between what was actually received and the billing charges,

           17   it's very close.

           18   Q.   Okay.    So I just want to make sure we understand.                    What

           19   does the 3+ and 5+ show?

10:34:36   20   A.   So, again, my purpose with this is to sort of give you

           21   some sense of what is going on in the data and what we see.

           22                So if you say, take that dataset and then only look

           23   at the total billings associated with the subset of subscribers

           24   that had three or more DMCA tickets, the 57,279 subscribers

           25   goes down to 31,514 subscribers.           And then the billed charges




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 108 of 149 PageID#
               W.H. Lehr - Direct       30634
                                                                                                  1777

            1   also goes down to 208 million.

            2               And then if you ask the question about, okay, well,

            3   what about 5+ DMCA subscribers, that number goes down to 20,189

            4   subscribers, and their total billed charges were $164 million.

            5   So, you know, still a very large number.

            6   Q.   And so, the 5+ is direct infringers who received -- are

            7   there 20,000 direct infringers with 5+ tickets?

            8   A.   Identified in the subsample of total infringements by the

            9   RIAA that is already, you know, by all reasonable estimates

10:35:45   10   expected to be a subsample of the total amount of infringing

           11   activity and infringing subscribers that exist on Cox's

           12   network.

           13   Q.   You talked earlier, sir, about the bundling of products.

           14   How does that factor into this analysis?

           15               Can you tell the jury what kinds of services the

           16   customers represent in this slide, subscribed to and paid for.

           17   A.   Well, this, again, is looking at all the services those

           18   subscribers paid for.     So it's not just looking at, you know,

           19   what revenue did they get from these subscribers associated

10:36:16   20   with their high-speed Internet service.              Because that's not how

           21   the service is sold.

           22               Customers buy a bundled service.              When you buy a

           23   bundled service, you get a different price.                In fact, you get a

           24   discount.   And consumers want to buy bundled services because

           25   it gives them one point of contact, because it's simpler, they




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 109 of 149 PageID#
               W.H. Lehr - Direct       30635
                                                                                                  1783

            1   each of the different subscribers.            And there are some that

            2   billed lower amounts and some that billed higher amounts.                        And,

            3   you know, this is a subscriber that billed a fair amount.

            4                It turns out that this amount is not that different

            5   than sort of what you might think the average value of

            6   subscriber would be over their lifetime.               You know, it's order

            7   of magnitude.    It's okay, it's a little bit more valuable.                      So

            8   this is -- you know, this also would go to a thing of like,

            9   geez, a 101 ticket subscriber also billed $8,594 in the

10:44:25   10   subsample of the data that I'm showing.

           11                You know, that shows this is an infringing subscriber

           12   that Cox is deriving a direct financial benefit from.                      And they

           13   were close to 60,000 subscribers that have a different number

           14   like this.

           15                But, you know, you look at them and I showed other

           16   ways to think about that with the --

           17   Q.   But this is a residential.          Did you consider a couple of

           18   business customers to demonstrate?

           19   A.   Yeah, the business -- yes, I did, and the next one is the

10:44:48   20   business subscriber.     The business subscribers were, as I said,

           21   a smaller number, but they account for a lot more dollars per

           22   account typically.    And this one was one of the observations

           23   that had one of the highest numbers of tickets in the whole

           24   dataset to give you an idea.

           25                So this one got eventually 4,074 tickets.                 And they




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 110 of 149 PageID#
               W.H. Lehr - Direct       30636
                                                                                                    1786

            1                NOTE:   At this point a recess is taken; at the

            2   conclusion of which the case continues in the absence of the

            3   jury as follow:

            4   JURY OUT

            5                THE COURT:    All right.        Joe, let's get our jury,

            6   please.

            7                NOTE:   At this point the jury returns to the

            8   courtroom; whereupon the case continues as follows:

            9   JURY IN

11:09:45   10                THE COURT:    All right.        Please be seated.

           11                Mr. Gould, continue, sir.

           12                MR. GOULD:    Thank you, Your Honor.

           13   BY MR. GOULD: (Continuing)

           14   Q.   Dr. Lehr, did you reach any conclusions about the relative

           15   value and benefit to Cox of retaining repeat infringing

           16   subscribers?

           17   A.   Yes, I did.     There's -- I considered several types of

           18   evidence to -- regarding this matter.

           19   Q.   And could you walk us through the basis for this opinion.

11:10:11   20   A.   Yeah.     First off, when Cox sells its broadband service, it

           21   doesn't have just a single, you know, broadband service.                         It

           22   offers different tiers.        You know, like a -- you know, a low

           23   tier service that's less expensive, provides a lower data rate

           24   and tells the customers that, you know, their data allowance is

           25   going to be less.     And that's suitable for people that are




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 111 of 149 PageID#
               W.H. Lehr - Direct       30637
                                                                                                1787

            1   going to be really light broadband users.

            2              And then it has higher tiers.           And the higher the

            3   tier, the higher the price for the service, the more you get.

            4              So it's like a lot of things.           So it is sort of if

            5   you want to get a fully-loaded car, you pay more for the

            6   extras.   You want to have broadband that runs really fast and

            7   has a big data cap, supports multiple users in your household,

            8   these sorts of things, you get a higher tier service.                    So --

            9   Q.   You talked about data, but you also just mentioned speed.

11:11:08   10   What does this -- how does the speed impact the tiers?

           11   A.   Well, they --

           12   Q.   Or relate to the tiers.

           13   A.   They -- when they define the nature of the service, they

           14   also tell you what its likely performance is going to be, you

           15   know, so what -- they'll say a data rate up to this certain

           16   speed, and sort of what's the average data rate you could

           17   expect.

           18              And so, for certain activities, for example,

           19   downloading files, having something like BitTorrent work and

11:11:34   20   having a usable experience, you need -- the faster your service

           21   is, the faster the files will download, the better the

           22   experience you'll have if, for example, you're using it to

           23   infringe, which is what it's principally used for, and the

           24   better the experience other subscribers in the BitTorrent, you

           25   know, world will have when they pull the file from you, you




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 112 of 149 PageID#
               W.H. Lehr - Direct       30638
                                                                                                   1788

            1   know.

            2                So if you try to basically, you know, download a file

            3   and the connection is too small, it's like trying to drive on

            4   the highway in a Model T Ford, you know.                It's not going to be

            5   a pleasant experience.

            6                You know, whereas if you have a very fast speed

            7   service, you'll download files quickly, you can download more

            8   of them.    And you'll also, you know, have -- it won't interfere

            9   with other things that you're doing.

11:12:23   10   Q.      Now, on this notion of -- the second and third point:                      P2P

           11   consumes more bandwidth and was a key driver of Cox's

           12   bandwidth.

           13                Did you prepare a slide showing some of the

           14   information you considered?

           15   A.      Yeah, I did.   I mean, what's important to understand is

           16   that it -- you know, the broad -- the companies that provide

           17   broadband service have to manage their network and provision

           18   their network for the peak traffic loads.                And they also want

           19   to look at sort of what people are doing and what -- you know,

11:12:55   20   what kind of services they have so they can give those

           21   customers the experience those customers, you know, want and

           22   expect.

           23                And so, they look at the different types of traffic.

           24   And if you have someone that all they're doing is e-mail

           25   occasionally, they're not moving a lot of data and they're




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 113 of 149 PageID#
               W.H. Lehr - Direct       30639
                                                                                                 1789

            1   not -- they don't need a very fast high speed service.

            2               If someone's doing something like peer-to-peer,

            3   that's one of the most intensive -- bandwidth intensive

            4   services, both on the upload and the download, that broadband

            5   subscribers do.

            6               And this slide is -- you know, pieces out of a

            7   consultancy report that was prepared by this company, inCode

            8   that, you know, provided advice to Cox on sort of, you know,

            9   what they should be expecting in the future, what traffic

11:13:45   10   looked like in the Internet, what traffic looked like, and what

           11   other, you know, broadband providers around the country were

           12   doing.

           13               And what this one says is basically what I've been

           14   saying.   Is that peer-to-peer is the most bandwidth intensive

           15   category.   And this one shows that, you know, peer-to-peer

           16   households were 13 percent of all broadband households.                      Which

           17   is a much higher number, for example, than the 60,000

           18   subscribers that have been identified here relative to the

           19   4.5 million broadband subscribers that Cox had.

11:14:19   20               So 60,000 over 4.5 million is well less than

           21   13 percent.   Which would suggest and is consistent with the

           22   inference I make that we were only observing a subset of the

           23   actual infringement that was happening on the network.

           24               But this is -- this one is showing that this is a

           25   heavy use thing.




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 114 of 149 PageID#
               W.H. Lehr - Direct       30640
                                                                                                 1790

            1             Now, the lower chart is showing the forecast that

            2   these consultants prepared for sort of the typical household's

            3   monthly usage.    And so, there are three lines here.                 There's a

            4   yellow line, a red line, and a green line.               And in its models

            5   for coming up with these forecasts, it characterizes what these

            6   firms -- you know, what these types of households do.

            7             So the yellow lines are households that are doing --

            8   you know, using the Internet relatively lightly.                 And their

            9   bandwidth demand is relatively low.           And they're candidates for

11:15:11   10   this Starter or Essential tier, the lower priced services, you

           11   know, these lower dark blue bands that run across.

           12             But if you're in the red band, you need to be in the

           13   Preferred tier.

           14             And if you're a green type of customer, you need to

           15   be the Premiere band or the Ultimate tier because your

           16   utilization doesn't fit with the experience you have.

           17             Now, the users of peer-to-peer are most likely to be

           18   in this green band or the red band, but certainly not in this

           19   yellow band.

11:15:39   20             So just understanding the character of what

           21   peer-to-peer is and what people are doing, and understanding

           22   that peer-to-peer is almost all infringing activity, Cox is,

           23   you know, listening to and knows -- this is evidence that Cox

           24   internally knew that the customers that were doing peer-to-peer

           25   were more likely to be customers and candidates for its more




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 115 of 149 PageID#
               W.H. Lehr - Direct       30641
                                                                                                1791

            1   expensive broadband services.

            2              So that's a piece of evidence.            That's some of the

            3   evidence that goes with the general understanding of how the

            4   business operates.

            5   Q.   And how does this tie in, Dr. Lehr, to your opinion that

            6   Cox had an economic incentive to tolerate infringement?

            7   A.   Well, these customers that are providing and are in the

            8   higher tier services are more profitable than the lower tier

            9   services because almost all the costs of providing the service

11:16:28   10   to the customers is fixed, it doesn't really depend upon the

           11   actual use of the customers.

           12              So, for example, when customers are heavy users, they

           13   may not be heavy users during the peak period, which is when

           14   they size the network.

           15              It's like you figure out how big a pipe do I need

           16   during my busiest hour to make sure that the customers that I

           17   promised service to get the service they expect.                But if

           18   customers use that pipe when it's not particularly busy, then

           19   that doesn't cost me anything because I have the pipe there

11:17:00   20   anyways.

           21   Q.   Now, did you have any access to Cox data that reported the

           22   actual tier, the actual tier that the direct infringing

           23   subscribers in this case subscribed to?

           24   A.   No, I don't, because the ICOMS billing data just says what

           25   they were billed, but it doesn't tell me what tier those




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 116 of 149 PageID#
               W.H. Lehr - Direct       30642
                                                                                                  1792

            1   customers were in.    And so, I didn't have that data, but I do

            2   have the ICOMS data and the ticket data.               So there are things I

            3   can infer from that.

            4   Q.   So just remind us, sir, what's the ICOMS data?

            5   A.   The ICOMS data is the internal billing system.                    So they

            6   keep this for all their subscribers.             But, you know, the subset

            7   of the data we got was for those subscribers who had been

            8   identified as infringing subscribers in the CATS data with one

            9   or more DMCA tickets.     And then we had their revenue payments

11:17:55   10   from 2012 to 2016.

           11   Q.   And were you able to look, sir, at the Cox billing data

           12   for the direct infringers in this case and draw conclusions

           13   about their relative value?

           14   A.   Yeah.    So one of the things you can do is you can say,

           15   let's look at the data payments.           So not all the revenues they

           16   billed, but the data payments which shows up in two different

           17   elements within the dataset for each customer.                 And you can

           18   say, what was the average of only those subscribers, the

           19   average billing per month for only those subscribers that

11:18:32   20   received one to two tickets?         And we can -- can we compare it

           21   to subscribers that received more tickets.

           22                And so, for example, can we compare it to subscribers

           23   who got 20 or more tickets?        So if you got 20 or more tickets,

           24   the evidence is showing you are, by the evidence, assuming the

           25   evidence straightly maps directly to your infringing behavior,




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 117 of 149 PageID#
               W.H. Lehr - Direct       30643
                                                                                                1793

            1   that you're a heavier infringer.

            2             When you do that comparison and you apply statistical

            3   tests, you find that there is a statistically significant

            4   increase in the data billed and revenues paid by the more heavy

            5   infringers.

            6             So this is data from a limited subsample of Cox's own

            7   internal billing of these infringing subscribers that have been

            8   identified as infringing that statistically shows that there is

            9   a large, 8 percent increase in the data billings to those

11:19:30   10   subscribers.

           11             And that, you know, goes as consistent with the other

           12   stuff, stuff their internal documents and what you would

           13   otherwise infer.

           14   Q.   What do you mean by statistically significant?

           15   A.   You apply statistical tests and say, given the size of the

           16   sample I have and the variability in that sample, is this a

           17   difference that looks as if it could be explained as just

           18   random, or does it look like it's actually, you know,

           19   statistically significant.

11:19:56   20   Q.   And it looks like -- the 8.4 percent increase, what

           21   charges does that relate to?

           22   A.   That's just the charges associated with their payment for

           23   data services.

           24   Q.   And it looks like it's about a six-and-a-half or so dollar

           25   incriminate.   $6 doesn't seem like that big of a difference.




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 118 of 149 PageID#
               W.H. Lehr - Direct       30644
                                                                                                 1794

            1   Why does that matter here?

            2   A.   Well, first off, you know, as an economist and someone who

            3   cares about looking at the data, it is statistically

            4   significant.   So that matters.        8 percent is a big difference.

            5   That is more an trivial amount.

            6               And six bucks does make a difference.               It makes a

            7   difference to individual subscribers.            I would certainly care

            8   if my bill was $6 more or less for this.

            9               And if you have 60,000 subscribers that there might

11:20:45   10   be this kind of difference or incentive, or, you know, some

           11   number of subscribers -- you remember, Cox is dealing in

           12   subscriber numbers that are in the millions, hundreds of

           13   thousands, tens of thousands.        You multiple that, that's a big

           14   number.   That's a big additional incentive.

           15               It's not like the subscriber that charges 43 bucks or

           16   even 30 bucks a month in data services isn't profitable for Cox

           17   and Cox doesn't want to retain that subscriber.                 It's just that

           18   they really want to retain these subscribers that are more

           19   valuable.   And if they're higher infringing, it looks like

11:21:19   20   they're valuable.

           21   Q.   How does that tie into your opinion that Cox benefited

           22   from retaining these direct infringers?

           23   A.   Well, it speaks to the economic incentive that Cox had to

           24   retain, you know, repeat infringers on its network even when it

           25   knew, you know, that it had -- these were repeat infringers,




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 119 of 149 PageID#
               W.H. Lehr - Direct       30645
                                                                                                  1795

            1   and that it's incentives were greater when these repeat

            2   infringers -- there is evidence suggesting that they were even

            3   heavier infringers.

            4   Q.   I want to move to the next part of this opinion.

            5                You said that Cox saved by not addressing

            6   infringement.    What do you by that, sir?

            7   A.   Well, I talked a little bit about that in my opening

            8   statement.    So had Cox addressed the infringement more

            9   aggressively, you know, they would have probably had to deal

11:22:10   10   with more customer service calls.           They would have had to mail

           11   more notices and had more interactions to deal with

           12   subscribers.    They would have incurred direct costs associated

           13   with the response.

           14                They probably couldn't have gotten away with reducing

           15   the personnel of the department that was dealing with the abuse

           16   stuff, as they actually -- as I understand they actually did.

           17                But, you know, so they would have incurred additional

           18   costs.

           19   Q.   Were able to quantify the costs saved by Cox by not

11:22:44   20   addressing the infringement?

           21   A.   I wasn't able to quantify these because, first off, I'm

           22   not offering an opinion here about what more and specifically

           23   Cox should have done.     And what Cox specifically might have

           24   done would affect what the incremental costs would have been.

           25                But certainly they should have done more than they




                                        Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 120 of 149 PageID#
               W.H. Lehr - Direct       30646
                                                                                                1797

            1   subscribers were terminated.

            2             Of those, 597,796 were residential subscribers, and

            3   21,915 were business subscribers.

            4             So like any business, if you're selling to someone a

            5   repeat service and they stop paying their bills, the reasonable

            6   thing to do is stop selling them service.             And Cox does that.

            7   Cox has to do that on a fairly regular basis because not

            8   everybody pays their bills.      This is on the order of 25,000 a

            9   month, is sort of what their terminations are.

11:25:10   10             And they were able to do that level of terminations

           11   and still come up with the profit and loss accounting data that

           12   I looked at.

           13             So terminating customers, you know, at some number,

           14   you know, that's below 25,000 a month, is probably not going to

           15   move their costs much because they've accounted for that.

           16             It's also worth comparing that to what they actually

           17   did for copyright infringement.        So over that period, they only

           18   terminated 32 customer accounts.         32 of them were residential,

           19   0 were business.

11:25:47   20             And of those 32, I believe the ones that are

           21   associated with the 60,000 notices, roughly 60,000 notices that

           22   are associated with the RIAA, was 13.           So 13 of something like

           23   57,000, that's all the terminations they did for copyright.

           24             So this is additional evidence that I believe

           25   supports the contention that Cox is more than willing to make




                                      Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 121 of 149 PageID#
                                    30647
                                                                                            1866

                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division




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                                           :
          SONY MUSIC ENTERTAINMENT, et al.,:
                         Plaintiffs,       :
                                           :
               -vs-                        :             Case No. 1:18-cv-950
                                           :
          COX COMMUNICATIONS, INC., et al.,:
                         Defendants.       :
                                           :
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                                               VOLUME      8   (P.M. Portion)




                                     TRIAL TRANSCRIPT


                                     December 11, 2019


                           Before:    Liam O'Grady, USDC Judge


                                         And a Jury




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 122 of 149 PageID#
           S. Negretti - Cross      30648
                                                                                            1918

     1    size it is, Cox's service is more appealing for those

     2    subscribers, is it not, if Cox gives, gives that subscriber

     3    warning after warning, without terminating their service?

     4    A.    I don't have any substantiation for that.

     5    Q.    Well, you used the term "friction" in your direct

     6    testimony.    Do you recall that?

     7    A.    I do.

     8    Q.    Friction is something the customer doesn't want, correct?

     9    A.    That's correct.    That's correct.

    10    Q.    Something that interferes with them using the service how

    11    they want it, when they want it, right?

    12    A.    Correct.

    13    Q.    In the way they want it, right?

    14    A.    That's correct.

    15    Q.    For instance, a suspension would be an example of

    16    friction, correct?

    17    A.    Perhaps.   If a customer was suspended for not paying our

    18    bill, regardless of the level of friction it creates, we don't

    19    want to have a relationship with them.              If a customer was

    20    suspended for doing something fraudulent or illegal, we

    21    wouldn't mind that friction because we wouldn't want to have a

    22    relationship with them.

    23    Q.    So your testimony is that if Cox is aware that its

    24    customer has violated the rules for using its service, it

    25    doesn't want a customer relationship with them; correct?




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 123 of 149 PageID#
           S. Negretti - Cross      30649
                                                                                             1919

     1    A.    That is correct.

     2    Q.    So there'd be no reason for Cox to be told again and again

     3    and again and again of specific subscribers engaging in

     4    infringement but retain them as a customer, would there?

     5    A.    I don't have details on that, but I can trust that that

     6    would be something we would not want to do.

     7    Q.    You want your customers to have a deep connection with the

     8    Cox service, right?

     9    A.    That's right.

    10    Q.    And friction gets in the way of that, right?

    11    A.    Correct.    It does.

    12    Q.    For example, if you're identified in notices as being an

    13    infringer and your service is suspended, that's an example of

    14    friction, right?

    15    A.    Well, if -- again, what we were just talking about, that

    16    may be an example of friction for the consumer that we're

    17    willing to take on because the consumer might be doing

    18    something illegal that we don't want to do business with them.

    19    Q.    You're aware, as we've been talking about, that Cox has a

    20    set of rules that govern its customers' use of its internet

    21    service, right?

    22    A.    I am aware of that, yes.

    23    Q.    It's called an AUP?

    24    A.    Acceptable Usage (sic) Policy, yes.

    25    Q.    And one of the things it does is prohibit use of the




                                   Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 124 of 149 PageID#
           S. Negretti - Cross      30650
                                                                                               1934

     1    Q.      Okay.    Sir, I'm going to remind you of something you said

     2    when I deposed you, which we've already established that you

     3    tried to tell the truth and were under oath, right?

     4    A.      That's correct.

     5    Q.      Okay.    So page 65 of your deposition, beginning at line 7:

     6    So is downloading of music one of the online activities that

     7    Cox has advertised in terms of activities where speed can be

     8    used?

     9                    So when downloading music was part of the consumer as

    10    a whole, their need to access internet, the internet, when that

    11    was important and popular, then that was a marketing message

    12    that became effective for us to use.

    13    A.      That's correct.

    14    Q.      Okay.    So marketing your service to download music has

    15    been effective for Cox, correct?

    16    A.      Has been effective at different points in time but is not

    17    currently an effective message that we use.

    18    Q.      So you're saying that today, Cox doesn't advertise

    19    downloading music?

    20    A.      That's correct.

    21    Q.      So why don't we look at -- well, are you aware, sir, that

    22    Cox for many years has tried to sell its service by relating

    23    speed to downloading music in the form of a hundred songs in

    24    three seconds?

    25    A.      That's correct.     That is the visual imagery that we were




                                     Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 125 of 149 PageID#
           S. Negretti - Cross      30651
                                                                                             1935

     1    trying to connote when it came to music.

     2    Q.    Right.    So you admit that for many years, including 2013

     3    and '14, Cox has advertised speed in relation to downloading

     4    music, correct?

     5    A.    I don't know if it was many years, but definitely during

     6    that time frame is correct.

     7    Q.    And that includes --

     8    A.    It was in association with our gig internet products, yes.

     9    Q.    And that includes downloading a hundred songs in three

    10    seconds, right?

    11    A.    Correct.

    12    Q.    Right.    And by doing the simply math, a hundred songs in

    13    three seconds would be a thousand songs in thirty seconds,

    14    would it not?

    15    A.    That's correct.

    16    Q.    Okay.    Sir, I'm going to show you a document that's

    17    already been admitted as evidence in this case as PX 1, and I'm

    18    just going to actually just pull it up on the screen.                       It's not

    19    in the binder that you have in front of you.

    20                  And I'm going to ask Mr. Duval to scroll through

    21    that -- or actually, excuse me, Mr. Ruelas is helping me out,

    22    making me look good.

    23                  Why don't you take a few seconds and look at what's

    24    behind tab 1.     That's a list of the sound recordings that are

    25    at issue in this case, and there's 6,734 of them.                    Take a look




                                   Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 126 of 149 PageID#
                                    30652
                                                                                            1998

                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division




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                                           :
          SONY MUSIC ENTERTAINMENT, et al.,:
                         Plaintiffs,       :
                                           :
               -vs-                        :             Case No. 1:18-cv-950
                                           :
          COX COMMUNICATIONS, INC., et al.,:
                         Defendants.       :
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                                               VOLUME      9   (A.M. Portion)




                                     TRIAL TRANSCRIPT


                                     December 12, 2019


                           Before:    Liam O'Grady, USDC Judge


                                         And a Jury




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 127 of 149 PageID#
           R. Cadenhead Deposition - Examination
                                       30653
                                                                                            2080

     1    that's -- I hope that answers your question.

     2    Q.    So why, why did Cox have a graduated response program?

     3    What was the purpose of it?

     4    A.    I'll give you my opinion because I don't speak for Cox,

     5    but my opinion was that Cox recognized that there was a real

     6    issue and a real problem with, with copyright infringement, and

     7    that your clients, the recording industry, had some, some

     8    proper concerns about it, and that our customers needed to

     9    understand better why that was a problem and that -- and that

    10    copying music, let's say, without paying for it was not the

    11    right thing to do.

    12               And so we, we wanted to -- I think Cox wanted to find

    13    a way to help your clients and our customers understand -- I'm

    14    sorry -- your clients with this problem and our customers with

    15    some ignorance, understand what was the right thing to do,

    16    and -- so they tried to design a system that would deal with

    17    that, would fix it.

    18    Q.    So you began your answer, Mr. Cadenhead, by saying your

    19    opinion, but you don't speak for Cox.             Just to be clear, I want

    20    to know what you understood at the time you were at Cox was the

    21    purpose of the graduated response program.

    22    A.    That's what I think it was.

    23    Q.    So you understood that the purpose was to address real

    24    problems with copyright infringement that copyright owners

    25    had --




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 128 of 149 PageID#
           R. Cadenhead Deposition - Examination
                                       30654
                                                                                            2084

     1    Q.      Why not?

     2    A.      Because you're, you're describing it as if Cox was doing

     3    something actively, and I, I don't remember that being the

     4    case.

     5    Q.      What do you recall it being?

     6    A.      When Cox got a notice, it started its graduated response

     7    process.

     8    Q.      And during that process, did Cox find a way to prevent the

     9    subscriber from infringing?

    10    A.      The process was meant, as I understood it, to educate the

    11    customer so that the customer would not do that.

    12    Q.      So as you oversaw the graduated response program, you

    13    recognized that some of Cox's subscribers may be infringing

    14    copyrights intentionally, correct?

    15    A.      Well, I, I oversaw it from a legal standpoint, and I, I

    16    think the program -- the process recognized that some customers

    17    were infringing and almost certainly knew they were infringing

    18    and needed to stop, and we tried to get them to stop.

    19    Q.      Was there a point in time when Cox instituted a policy --

    20    a graduated response policy that had a specific number of steps

    21    before a customer would be terminated?

    22    A.      Cox began with notifying the customer through several

    23    means and steps, which varied over time.               Cox required that

    24    there be an actual communication between a knowledgeable

    25    representative at Cox and the customer at least once and




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 129 of 149 PageID#
                                    30655
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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division




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                                           :
          SONY MUSIC ENTERTAINMENT, et al.,:
                         Plaintiffs,       :
                                           :
               -vs-                        :             Case No. 1:18-cv-950
                                           :
          COX COMMUNICATIONS, INC., et al.,:
                         Defendants.       :
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                                               VOLUME      10    (A.M. Portion)




                                     TRIAL TRANSCRIPT


                                     December 16, 2019


                           Before:    Liam O'Grady, USDC Judge


                                         And a Jury




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 130 of 149 PageID#
           C. Bakewell - Cross      30656
                                                                                            2465

     1    have considered is relevant, and it may -- you know, I mean,

     2    he's answered -- I don't -- it doesn't change my opinion, but I

     3    think it's in the wheelhouse.         So I'm going to allow it.

     4               MR. ELKIN:    All right.        Thank you, Your Honor.

     5               THE COURT:    All right.        Thank you.

     6               NOTE:    The sidebar discussion is concluded; whereupon

     7    the case continues before the jury as follows:

     8    BEFORE THE JURY

     9               THE COURT:    All right.        You've heard some testimony

    10    about, you know, getting back into graduated response and when

    11    Cox took -- may have taken certain actions.                Those were

    12    hypothetical questions and not assuming facts in evidence.                        So

    13    just consider them as that, okay?           Thank you.

    14               All right.    Please continue, Mr. Gould.

    15    BY MR. GOULD:

    16    Q.    Sir, you also agree that if Cox had terminated this

    17    customer after three or five tickets, it wouldn't have billed

    18    or received internet revenue from that customer during the

    19    period of that termination, correct?

    20    A.    In that hypothetical, during whatever that period of

    21    termination would be, however that's defined, that would be

    22    true by definition.

    23    Q.    And I want to take a look at one more of these charts,

    24    sir, a similar chart for a business customer that was a

    25    fraternity.    You recall this slide and testimony about it?




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 131 of 149 PageID#
           C. Bakewell - Cross      30657
                                                                                             2467

     1    I don't think that's exactly right, but for purposes of moving

     2    things along, I'll accept it.

     3    Q.     You recall this slide, sir?

     4    A.     Yes.

     5    Q.     And when you talked about this slide, you talked about

     6    that the infringing activity was a small amount of the user's

     7    activity or something along those lines, right?

     8    A.     I don't think I actually said that, but I did say that

     9    context is important, yes.

    10    Q.     Well, I may have misheard because I didn't expect it, but

    11    I thought you did.     You didn't do any measurement or analysis

    12    or study to determine the amount of peer-to-peer activity

    13    occurring on Cox's network, did you?

    14    A.     I know the subscribers, I know some information that I've

    15    read, but I haven't done, like, created an equation with that

    16    in it.

    17    Q.     And you don't dispute or disagree that peer-to-peer is a

    18    highly bandwidth-intensive activity, do you?

    19    A.     When it's done, it's bandwidth intensive.                 The question

    20    is, like, when it's done relative to everything else that's

    21    happening --

    22    Q.     And you -- I'm sorry.

    23    A.     -- that might be -- might go to what you're asking.

    24                  But when it's done, it takes a fair amount of data,

    25    yes.




                                   Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 132 of 149 PageID#
                                    30658
                                                                                            2483

                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division




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                                           :
          SONY MUSIC ENTERTAINMENT, et al.,:
                         Plaintiffs,       :
                                           :
               -vs-                        :             Case No. 1:18-cv-950
                                           :
          COX COMMUNICATIONS, INC., et al.,:
                         Defendants.       :
                                           :
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                                               VOLUME      10    (P.M. Portion)




                                      TRIAL TRANSCRIPT


                                     December 16, 2019


                           Before:    Liam O'Grady, USDC Judge


                                         And a Jury




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 133 of 149 PageID#
               P. Jarchow - Direct      30659
                                                                                                2504

            1   A.   It does not.

            2   Q.   Does ICOMS contain information that would show whether a

            3   subscriber's internet service was limited to particular

            4   categories of end users like employees, contractors, guests, or

            5   the like?

            6   A.   It does not.

            7   Q.   In addition to ICOMS, does Cox also have other databases

            8   and systems?

            9   A.   We have very many, many databases and systems, yes.

14:31:36   10   Q.   Mr. Jarchow, to what extent do you have knowledge of Cox's

           11   other databases and systems beyond ICOMS?

           12   A.   My primary job responsibilities are related to ICOMS.                      I

           13   have one or two ancillary databases that I have access to.

           14   Q.   And, sir, are you personally aware of any database or

           15   system at Cox with information about whether a subscriber uses

           16   its Cox internet service for public WiFi versus for a secure

           17   computer network or for both?

           18   A.   No, I do not.

           19   Q.   Mr. Jarchow, in connection with this lawsuit, were you

14:32:09   20   asked to retrieve information about certain subscribers from

           21   the ICOMS system?

           22   A.   Yes.

           23   Q.   And how do you identify the subscribers whose information

           24   you were asked to retrieve?

           25   A.   A list of account numbers was provided by Brent Beck, and




                                      Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 134 of 149 PageID#
               P. Jarchow - Cross       30660
                                                                                                   2510

            1   Q.   And Cox hasn't provided the names of the residential

            2   customers, correct?

            3   A.   It has not.

            4   Q.   You understand that the business customers were given an

            5   opportunity to object in court to the disclosure of their

            6   names?

            7   A.   Yes.

            8   Q.   And you mentioned, I think, two that you said did?

            9   A.   Yes, sir.

14:39:52   10               MR. GOULD:    Could you pull up DX 358, please?

           11               Please scroll to the top, please.

           12   BY MR. GOULD:

           13   Q.   Mr. Jarchow, this is DX 358, which has the bulk of those

           14   customers' names, correct?

           15   A.   Yes, sir.

           16   Q.   I think it was about 2,700 or so that were on this

           17   particular spreadsheet, give or take.

           18   A.   Yes.

           19   Q.   Now, if we look at some of the names of the business

14:40:32   20   customers, No. 5 is Olympia Skate Center, and right below that

           21   is a Computers & More, right?          And you keep going down and you

           22   can see there's a college, and one's a fire station.

           23               If you keep scrolling down, towards the bottom,

           24   Margaritas, let's see, line 21 says Margaritas Mexican Bar &

           25   Grill.   And right below that is Cars R Us.




                                         Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 135 of 149 PageID#
               P. Jarchow - Cross       30661
                                                                                                       2511

            1                   Did I read those correctly?

            2   A.      That's what I'm reading, yes, sir.

            3                   MR. GOULD:    If you could just click down another

            4   page?

            5   BY MR. GOULD:

            6   Q.      Let's take a look at some of the other names.                      There's a

            7   couple of Starbucks, right?

            8   A.      Yes.

            9   Q.      And there's an art gallery, correct, at line 49?

14:41:27   10   A.      Yes.

           11   Q.      Let's take a look at another page, okay?                   Line 79, there's

           12   something called Crystal Chandelier, right?                     And then an

           13   infirmary and a diner and a coffee shop, and then at 87, you

           14   see Sal's Seafood and Chicken.

           15                   Did I read those correctly?

           16   A.      Yes, sir.    And 86, Staybridge Suites.

           17   Q.      Let's take a look at another page.                At line 103, you have

           18   5 Minute Oil Change Shop.            Below that is a barbershop, and then

           19   at 106, there's a Pipes R Us Plumbing, correct?

14:42:09   20   A.      Yes, sir.

           21   Q.      Okay.    Let's take a look at another page.                  At the top,

           22   you've got a nail and spa, right?

           23   A.      Yes, sir.

           24   Q.      And at 117, there's a restaurant and oyster bar?

           25   A.      And 116, Benchmark Communications.




                                             Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 136 of 149 PageID#
               P. Jarchow - Cross       30662
                                                                                                  2512

            1   Q.   Yeah.    And at 122, we have Cairo Cafe?

            2   A.   That's correct.

            3   Q.   There's a TGI Fridays right at the bottom?

            4   A.   Yes.

            5   Q.   Let's just look at one more page to get a sense here.                        At

            6   155, you have Smooth Movers, correct?

            7   A.   That's correct.

            8   Q.   And 166, something called Underground Audio?                   Did I read

            9   that correctly?

14:43:01   10   A.   That's correct.

           11   Q.   And these are fairly representative of the types of

           12   customers and names that are listed in these three exhibits,

           13   correct?

           14   A.   In general, yes.

           15   Q.   And there's also a handful of hospitals, doctor's offices

           16   or medical centers, right?

           17   A.   Doctors' offices, medical centers, library, government

           18   facilities, yeah.

           19   Q.   Saw a couple of volunteer fire stations, correct?                      Sound

14:43:34   20   familiar?    You've looked at these?

           21   A.   Yes.

           22   Q.   You understand, sir, that Cox has argued in this case that

           23   it can't be expected to terminate Internet service of business

           24   customers for copyright violations if those customers are

           25   hospitals, police, fire, or other critical infrastructure?




                                        Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 137 of 149 PageID#
               P. Jarchow - Cross       30663
                                                                                                  2513

            1              MS. GOLINVEAUX:      Objection, Your Honor.              Scope.

            2              MR. GOULD:    Your Honor, this witness is listed on our

            3   exhibit list as well.

            4              THE COURT:    Yeah, I'm going to allow the question.

            5   Your exception is noted.       Thank you.

            6   BY MR. GOULD:

            7   Q.   Sir, do you understand that Cox has argued in this case

            8   that it can't be expected to terminate internet service for

            9   business customers for copyright violations if those customers

14:44:14   10   may include critical infrastructure or health care services?

           11   A.   I understand.

           12   Q.   And I think you testified that the ICOMS database from

           13   which this information came doesn't actually tell Cox what the

           14   customer uses that service for, correct?

           15   A.   That is correct.

           16   Q.   It could include a field here that says it's used for

           17   WiFi, right?

           18   A.   Managed WiFi.   If we sold them managed WiFi service.

           19   Q.   You could include a field that says this customer used our

14:44:43   20   service for WiFi, correct?

           21   A.   If we sold them managed WiFi service.

           22   Q.   But there's no way to distinguish based on the billing

           23   records or the ICOMS database whether those WiFi users were

           24   using some secured private network or a public WiFi network,

           25   correct?




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    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 138 of 149 PageID#
               P. Jarchow - Cross       30664
                                                                                                  2515

            1   refreshes your recollection.         If you look at the first sentence

            2   of paragraph 2, does this refresh your recollection that your

            3   current job duties focus on the technical support of the

            4   business systems that Cox Communications uses to provide its

            5   services?

            6   A.   The first sentence, but the second sentence, the primary

            7   system I'm responsible for is ICOMS customer subscriber

            8   management system, yes.

            9   Q.   Sir, you recall submitting a sworn declaration in this

14:47:26   10   case in which you testified that your current job duties focus

           11   on the technical support of the business systems that Cox

           12   Communications uses to provide its services?

           13   A.   Yes.

           14   Q.   And do you agree with that?

           15   A.   With the primary system, I'm responsible for it, being

           16   ICOMS, yes.

           17   Q.   So I'm just asking you about the first sentence in your

           18   sworn declaration.   Your job duties focus on the technical

           19   support of the business systems that Cox Communications uses to

14:47:54   20   provide its services.     Is that your job duties or not?

           21   A.   Yes, sir.

           22   Q.   So we already talked about ICOMS, but given those job

           23   duties, I think what you're saying is beyond ICOMS, you're also

           24   not aware of any other databases at Cox that contain

           25   information about whether a Cox Business customer at issue here




                                        Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
    Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 139 of 149 PageID#
               P. Jarchow - Cross       30665
                                                                                                  2516

            1   used their internet service to provide emergency services,

            2   correct?

            3   A.   I don't manage any other systems at Cox.                 I communicate

            4   with leaders that do manage those other systems, yes.

            5   Q.   You just don't know?

            6   A.   I don't know.

            7   Q.   And the same is true of whether any of these customers

            8   provide critical infrastructure services through Cox's internet

            9   services, correct?

14:48:41   10   A.   That's not subject to my --

           11   Q.   I think you testified that you have reviewed an objection

           12   to disclosure of the customer's name from a hospital to whom

           13   Cox provides internet service, correct?

           14   A.   I have reviewed that.

           15   Q.   And I wasn't sure I understood what you said.                    I want to

           16   make sure I got it correctly.         I think you said that the

           17   hospital reported that its internal secured network for

           18   employees and health services was operated by someone different

           19   than Cox, correct?

14:49:14   20   A.   That is what was filed.

           21   Q.   And the hospital said that -- the only thing that the

           22   hospital said in its statement was that it purchased internet

           23   access that it used for public WiFi from Cox, correct?

           24   A.   That was what was in the filing, yes.

           25              MR. GOULD:    I have no further questions.




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 140 of 149 PageID#
                                    30666
                                                                                            2686

                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division




          ---------------------------------:
                                           :
          SONY MUSIC ENTERTAINMENT, et al.,:
                         Plaintiffs,       :
                                           :
               -vs-                        :             Case No. 1:18-cv-950
                                           :
          COX COMMUNICATIONS, INC., et al.,:
                         Defendants.       :
                                           :
          ---------------------------------:




                                               VOLUME      11    (A.M. Portion)




                                     TRIAL TRANSCRIPT


                                     December 17, 2019


                           Before:    Liam O'Grady, USDC Judge


                                         And a Jury




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 141 of 149 PageID#
                                    30667
                                                                                            2713

     1    That's the question, was the analysis done at the time of his

     2    report, and the answer is no.

     3               THE COURT:    All right.        All right.        The motion to

     4    preclude the exhibits which contain the lower portions of 13

     5    and 21, 22, 23, 26, and the last two, the motion is granted.

     6    Those will be amended -- or not presented.                I find that the --

     7    in going over the reports, and in particular, the pages that

     8    defendants have pointed to, that the analysis was not done.

     9    There has been no notice that Mr. Tregillis was going to

    10    testify about those matters.

    11               This is clearly outside of the report, the summaries

    12    that he gave of what his testimony was going to be, and

    13    although they're not, as Mr. Buchanan pointed out, the most

    14    resounding modifications, they are modifications, and they do

    15    change the dynamics of his report, and that's -- it's

    16    impermissible to do that this late in the -- on the last day of

    17    trial.   So the motion is granted to just -- those will be --

    18    exhibits will either be redacted or they won't be used.

    19               All right.    What else do we have this morning?

    20               MR. OPPENHEIM:      I don't think anything else at the

    21    moment, Your Honor.

    22               THE COURT:    Okay.     All right.        What -- does that --

    23    who is -- Tregillis is the next witness?               Is that --

    24               MR. ELKIN:    No, Your Honor.          We're calling

    25    Mr. Mencher.




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 142 of 149 PageID#
           S. Mencher - Cross       30668
                                                                                            2741

     1    Q.    And we talked about -- you talked a little bit about the

     2    different tiers of service.        Do you recall that, the internet

     3    tiers of service?

     4    A.    Yes.

     5    Q.    And generally, the higher the bandwidth and the higher the

     6    speed, the higher the price for that service, correct?

     7    A.    Yes.

     8    Q.    And the different prices that Cox charges its tiers of

     9    internet service factor into Cox's profitability?

    10    A.    Yes.

    11    Q.    And the payments received from customers that Cox retains

    12    factors into Cox's profitability?

    13    A.    Yes.   The payments we receive and the payments we don't

    14    receive, for that matter, both factor into profitability.

    15    Q.    Does Cox collect more revenue from a customer that it

    16    terminates for copyright infringement or that it retains on its

    17    network?

    18    A.    I'm not familiar with what we terminate or don't terminate

    19    for a copyright infringement.         What I can say is customers that

    20    we have, we get revenue from, and customers that we don't have,

    21    we don't get revenue from.

    22    Q.    And that would include customers terminated for copyright

    23    infringement, correct?

    24    A.    Again, I don't know whether we are terminating or what's

    25    the process for terminating customers for copyright




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 143 of 149 PageID#
           S. Mencher - Cross       30669
                                                                                             2742

     1    infringement, so it's difficult for me to answer that question

     2    directly.

     3    Q.    Are you saying you're not aware of whether Cox terminates

     4    customers for copyright infringement violations?

     5    A.    I'm not aware -- I don't -- I'm not familiar with the

     6    details of the process through which customers get terminated,

     7    so it's, it's difficult for me to say.

     8    Q.    You're the vice president of finance and accounting.                        Are

     9    you aware, yes or no, whether Cox terminates customers for

    10    copyright infringement violations?

    11    A.    I believe we do.

    12    Q.    And if a customer is terminated for a copyright violation,

    13    does Cox collect more revenue from that customer or a customer

    14    that it keeps on its network?

    15    A.    Any customer that is terminated, we will no longer collect

    16    revenue from.

    17    Q.    You talked about Cox not charging data overage fees.                        Did

    18    I get that right?

    19    A.    Yes.

    20    Q.    You're talking about a particular time frame, though,

    21    aren't you?

    22    A.    I am.

    23    Q.    Because starting in 2015, Cox actually began charging data

    24    overage fees, correct?

    25    A.    I don't remember the exact date, but we do collect overage




                                   Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 144 of 149 PageID#
           C.D. Tregillis - Cross   30670
                                                                                              2834

     1    Q.    That's what you said, right?

     2    A.    No.   I think the data are available to instruct on that.

     3    And they tell us that that viral idea you're talking about

     4    isn't happening.     But I appreciate the concept.

     5    Q.    Well, sir, that -- what you just mentioned wasn't part of

     6    your analysis in this case, was it?

     7    A.    Yes, it was.

     8    Q.    Sir, a few moments ago I asked you whether you agreed with

     9    Dr. Lehr that actual damages -- that we can't calculate them

    10    because the universe of distributions is unknown.                     And you

    11    agreed with me, correct?

    12                And that's a yes or no.

    13                MR. BUCHANAN:      I don't think that was the question,

    14    about actual damages, Your Honor.

    15                THE COURT:     He's --

    16                MR. ZEBRAK:     Let me move on, Your Honor.

    17                THE COURT:     He can't determine -- yeah, reask the

    18    question.

    19                MR. ZEBRAK:     Yeah.

    20    BY MR. ZEBRAK: (Continuing)

    21    Q.    Nobody knows how many distributions occurred here,

    22    correct?

    23    A.    I agree with you on that.

    24    Q.    Right.   And it was for that reason that Dr. Lehr was

    25    looking at Cox's economic incentives, rather than just doing




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 145 of 149 PageID#
                                    30671
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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division




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                                           :
          SONY MUSIC ENTERTAINMENT, et al.,:
                         Plaintiffs,       :
                                           :
               -vs-                        :             Case No. 1:18-cv-950
                                           :
          COX COMMUNICATIONS, INC., et al.,:
                         Defendants.       :
                                           :
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                                               VOLUME      11    (P.M. Portion)




                                     TRIAL TRANSCRIPT


                                     December 17, 2019


                           Before:    Liam O'Grady, USDC Judge


                                         And a Jury




                                  Norman Linnell and Anneliese Thomson - EDVA-OCRs   (703)549-4626
Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 146 of 149 PageID#
           C. D. Tregillis - Cross  30672
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     1    correct?

     2    A.    Right.    The revenue share that would go to the

     3    plaintiffs, a dollar.

     4    Q.    Okay.    So before lunch, we already talked about what you

     5    used for the quantity.      I'd like to now talk about the royalty

     6    rate that you applied.      Okay?

     7    A.    Okay.    Great.

     8    Q.    Now, you used a dollar per notice, right?

     9    A.    Right.

    10    Q.    Okay.    And you used the dollar because that was your

    11    calculation, sort of the average cost of a single-track

    12    download from iTunes, correct?

    13    A.    Not exactly.      A single-track download from iTunes is

    14    somewhere between $0.79 and $1.29.         In production, you and

    15    your clients provided information that told me how much of

    16    that you get, and for sound recordings, you get up to about

    17    $0.90, and for musical compositions, you get $0.10.                     So I used

    18    all of that, assuming you get all of the musical compositions

    19    and all sound recordings, even though those -- that's not

    20    actually the case, but that's where those come from, is your

    21    disclosures.

    22    Q.    All right.    The activity for which that rate applied was

    23    the single-track download for digital download from iTunes,

    24    correct?

    25    A.    It's based on the $0.79 up to a $1.29 for a single-track




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 147 of 149 PageID#
           C. D. Tregillis - Cross  30673
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     1    download, that's right.

     2    Q.    Right.   And you looked to the single-track download rate

     3    because you understood that these tracks were available for

     4    purchase on an individual basis on iTunes, correct?

     5    A.    Right.

     6    Q.    Now, in choosing a royalty rate, it's true, is it not,

     7    sir, that it's important that the royalty rate fit the

     8    economic realities of the situation that you're applying it

     9    toward, correct?

    10    A.    Yes.

    11    Q.    And the single-track download rate when someone buys a

    12    track from iTunes, that's the rate for obtaining the track for

    13    personal use, correct?

    14    A.    Yes.

    15    Q.    That price is not the price for authorization to

    16    distribute it to countless people through a peer-to-peer

    17    network, correct?

    18    A.    That's right.    It's for an individual to purchase and use

    19    that track.    That's my understanding of it.

    20    Q.    Right.   And it's also your understanding, sir, that

    21    plaintiffs have never granted a license for anyone to

    22    distribute their music all across peer-to-peer networks on an

    23    unlimited basis, correct?

    24    A.    That's right.

    25    Q.    The cost of that would be enormous, correct?




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 148 of 149 PageID#
           T. McGarty - Direct      30674
                                                                                         2885

     1    apparently let most of the businesses just skate in terms of

     2    these notices, and so they were much more lenient in my

     3    observation with their business customers.

     4    Q.    Not necessarily with respect to copyright infringement

     5    per se, but in running your various businesses, did you have

     6    occasion to work with business customers on compliance issues?

     7    A.    In, in my European operations, probably 70 percent of my

     8    business was business customers; and, you know, spanning

     9    multiple countries in multiple legal environments, I had

    10    probably as many lawyers as, as employees at this point

    11    because every country had a different set of laws; and

    12    compliance -- being compliant with the law is a very critical

    13    factor.

    14               So with the business customers, we typically entered

    15    into contracts.    There were the AUP-type things that went in

    16    there that says:     This is an acceptable use.

    17               And each country had its own little changes in

    18    acceptable use; and we managed to successfully navigate those

    19    waters by having good contracts, good acceptable use policies.

    20    We basically maintained our ability to verify that they were

    21    being followed, and that went fairly well.

    22    Q.    Dr. McGarty, you were here when Dr. Almeroth testified

    23    for Cox, correct?

    24    A.    Yes, sir.

    25    Q.    I'm not saying his words precisely, but do you recall




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Case 1:18-cv-00950-PTG-JFA Document 699-2 Filed 02/28/20 Page 149 of 149 PageID#
                                    30675
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     1               I expected that there would be testimony about how

     2    many of these sound recordings were also music compositions,

     3    and the jury would be -- would have that evidence through the

     4    witness stand when they were deliberating.

     5               I mean, it's a close issue even to begin with as to

     6    whether in this day and age, when the courts have clearly been

     7    looking at the independent value of the works versus whether

     8    they're music compositions and sound recordings, and I'm not

     9    sure that Mr. Oppenheim isn't correct that we shouldn't even

    10    be looking at the traditional Second Circuit analysis that

    11    you've cited and is one of the governing cases, but I just

    12    don't see that there's evidence from which they could collect

    13    and cull and determine whether they wanted to combine the

    14    statutory damages award for those works that are -- contained

    15    both sound recordings and music compositions.

    16               So I'm going to find that they should be allowed to

    17    deliberate on the 10,017 individual works, regardless of

    18    whether they're compositions or sound recordings, and your

    19    exception, of course, is noted.

    20               The other issue on mitigation, you know, I didn't

    21    know how that would go in the course of the trial, but, you

    22    know, clearly we had the instruction that I gave in BMG

    23    talking about the -- that the mitigation instruction included

    24    both that plaintiffs had failed to use reasonable efforts to

    25    mitigate damages and also that the amount by which damages




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